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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Ian Olson,                                            File No. 21-cv-1576 (ECT/DJF)

             Plaintiff,

v.                                                       OPINION AND ORDER

Macalester College,

             Defendant.


Michael Thad Allen, Allen Harris PLLC, Quaker Hill, CT, and Ferdinand F. Peters and
Benjamin Loetscher, Ferdinand Peters Law Firm, St. Paul, MN, attorneys for Plaintiff Ian
Olson.

Sean R. Somermeyer and Timothy M. Sullivan, Somermeyer Sullivan PLLC, Minneapolis,
MN, for Defendant Macalester College.


      Defendant Macalester College expelled Plaintiff Ian Olson after Macalester officials

found that he had engaged in domestic violence against, stalked, and harassed a female

student who will be referred to as “Jane Roe.” In this case, Olson claims that Macalester’s

actions and his expulsion violated federal and Minnesota law. He asserts federal claims

for sex discrimination under Title IX and for disability discrimination under the Americans

with Disabilities Act and the Rehabilitation Act, and he asserts negligence and contract

claims under Minnesota common law.

      Macalester has moved to exclude two of Olson’s expert witnesses and for summary

judgment. With one exception, Macalester’s motion to exclude Olson’s experts will be

granted. The better answer is that the experts’ proffered opinions fail various rules
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governing their admissibility. The exception is that, if the case were tried, Olson’s

psychologist expert would be allowed to testify regarding Olson’s mental health, including

its impact on his functioning and behavior. Macalester’s summary-judgment motion will

be granted. Olson’s federal claims are not trial-worthy because Olson has not identified

record evidence from which a jury might reasonably find that Macalester discriminated

against him on the basis of sex or disability. Olson’s negligence claim is not triable because

no reasonable jury could find that Macalester’s expulsion decision was arbitrary and

capricious. Olson’s contract claims fail because he did not defend them in response to

Macalester’s motion.

                                              I

       The following description of the case’s background facts deserves a brief

introduction. The facts are lengthy because the record is extensive. Macalester submitted

over 1,000 pages of exhibits in support of its motions. See ECF Nos. 80–84, 89. And

Olson submitted over 1,000 pages of exhibits in opposition to Macalester’s motion. See

ECF Nos. 98–99, 101. The volume of these submissions is understandable. Macalester

reviewed and considered a significant quantity of information in the course of its

investigations, and the record includes extensive electronic communications between

Olson, Roe, Macalester, and others. The extensive record deserves full consideration.

Notwithstanding their length, the following facts are undisputed or described in a light most

favorable to Olson. Fed. R. Civ. P. 56(a). To be clear, text messages and emails are quoted

extensively—not necessarily for the truth of their content—but more often because these



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electronic communications show beyond dispute the identities of senders and recipients,

what was communicated, and when these communications occurred.

                                            A

                 Macalester, Olson, And Olson’s Relationship With Roe

      Macalester is a private college located in St. Paul, Minnesota, and it receives federal

funding. Compl. [ECF No. 1] ¶ 7. Olson was a student at Macalester from September

2010 until his expulsion on May 8, 2020. A0025; A0061.1

      Olson was diagnosed with bipolar disorder in 2011.2 A0026. Olson’s bipolar

disorder has manifested in stress-induced manic episodes, including “pressured speech.”

A0750. Individuals who experience “pressured speech” feel “an extreme need to share

their thoughts, ideas or comments,” often loudly, incomprehensibly, and without the ability

to stop. Compl. ¶ 16. Olson’s condition also impacted his focus, mental clarity, decision-

making, and emotional stability. A0755. Olson was prescribed medications for his bipolar

disorder and its symptoms. A0983; A0019. On several occasions he was admitted to

hospitals and mental health centers for treatment following mental health episodes; he was



1
       Macalester filed an appendix with its motion containing five volumes of exhibits.
See ECF No. 80 (A0001–A0413); ECF No. 81 (A0414–A0537); ECF No. 82 (A0538–
A0607); ECF No. 83 (A0608–A0722); and ECF No. 84 (A0723–A0999). These exhibits
will be cited by reference to Macalester’s pagination.
2
      Olson has alleged that he also suffers from autism spectrum disorder. Compl. ¶¶ 1,
11; ECF No. 84 at A0918. Olson’s expert witness, psychologist Frank Dattilio, Ph.D., has
opined that “Olson does not meet the diagnosis for autism spectrum disorder.” ECF No.
89-4 at 4. Regardless, whether Olson suffered from autism spectrum disorder is not a
material issue for purposes of Macalester’s motions.


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arrested at least once during an episode. A0019–A0020. He was treated by a psychiatrist

from March 2016 through at least May 2020. A0983; A0755. Over his nearly ten years at

Macalester, Olson’s mental health caused him to take six leaves of absence totaling nine

semesters. A0466; A0943–49 ¶¶ 7–30.

      Olson and Jane Roe, also a Macalester student, met in the fall of 2018 and began

dating in January 2019. A0430; A0565. Roe moved into Olson’s apartment in the late

summer of 2019 and lived there for about three months. Id. After Roe moved in, Olson

and Roe’s relationship deteriorated. Text messages between Olson and Roe show that their

relationship was strained.   A0586 (Olson to Roe: “I AM GOING TO FUCKNG

STRANGLE YOU,” “god if you were here I’d hit you”); A0554–58 (Olson to Roe: “YOU

WHORE,” “I will leave you worse than homeless,” “I HAVE A MOOD DISORDER YOU

CUNT”; Roe to Olson “Find yourself a place or come here and strangle me like you said,”

“You’re not right rn I’m not supposed to believe anything you say”); ECF No. 98-3 at 5, 9

(Roe to Olson: “I need to be dead,” “stupid fucking hypocrite,” “your [sic] fucking

incapable of not oversexualizing your girlfriends”). The text messages also show that

Olson repeatedly asked Roe to leave his apartment but that she refused to do so until

October 2019. ECF No. 98-2 at 39–78 (Olson: “please find a healthy place to go, it is not

here . . . idk how many times to ask,” “right now I need you to go away and find another

place,” “you are strangling my ability to say or do anything in my own apartment, and in

the meantime calling me cruel and mean,” “YOU NEED TO GO FOR YOUR OWN

WELL BEING,” “STOP TELLING ME HOW INSANE I AM AND LEAVE”; Roe:

“please come back to me you’re not right rn please come back to me,” “please I need the

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real Ian to come back please,” “So come here and rip me off the bed and throw me out in

the hall,” “None of what you’re saying is real,” “Get your medication and go like you

said”). The couple ended their relationship in October 2019. A0430; A0565.

                                             B

                         Macalester’s Sexual Misconduct Policy

       Macalester addresses sexual misconduct in its Sexual Misconduct Policy. A0368–

A0403. The Sexual Misconduct Policy in place during this case’s events had been revised

in August 2016 and reviewed in September 2017. A0368. The Policy’s purpose is to

“outline[] Macalester College’s community expectations to ensure a campus free from

sexual violence, the steps for recourse for those individuals whose rights may have been

violated, and the procedures for determining a violation of College policy.” Id.

       “This policy is distributed annually to all students and employees of the College”

and can also be found at the Office of Student Affairs, the Ruth Stricker-Dayton Campus

Center, or on Macalester’s website. Id. It applies to all Macalester “community members,”

which includes “students, faculty, administrators, staff, volunteers, vendors, independent

contractors, visitors, and any individuals regularly or temporarily employed, studying,

living, visiting, conducting business or having any official capacity with the College or on

College property.” Id. Not only is the policy applicable to conduct occurring on campus,

but it also applies to any College-sanctioned events or programs and any “off-campus

conduct that the College determines may cause or threaten to cause an unacceptable

disruption at the College or which may interfere with an individual’s right to a non-

discriminatory educational or work environment.” Id.

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       The Policy defines “sexual misconduct” as referring “to all forms of sex

discrimination, including sexual and gender-based harassment, sexual assault, sexual

exploitation, stalking, dating/intimate-partner violence, and domestic violence.” Id. The

Policy further defines each of these and gives examples of actions that would fall under

these classifications. A0372–A0376.

       The Policy provides several avenues for reporting sexual misconduct. An individual

may submit a report by contacting the Title IX Coordinator, campus security, the Assistant

Vice President of Student Affairs/Dean of Students & Deputy Title IX Coordinator,

Associate Dean of Students & Deputy Title IX Coordinator, Head Softball Coach/Senior

Woman Administrator & Deputy Title IX Coordinator, Director of Center for Study Away

& Deputy Title IX Coordinator, or via an online reporting form. A0380. Also, “all College

employees who are not confidential resources, who obtain or receive information regarding

a possible violation of this policy must report that information to the title IX Coordinator.”

Id.

       On receipt of these reports, the Title IX Coordinator “will evaluate the information

received and determine what further actions should be taken consistent with the

‘Procedures for Sexual Misconduct Complaint Resolution’ section” of the Policy. A0381.

After a report of a potential violation of the Policy has been received but before the

completion of the response and resolution process, the Coordinator is to decide whether

interim actions or protective measures are necessary. A0386. Appropriate measures are

determined on a case-by-case basis. Id.



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       The “Procedures for Sexual Misconduct Complaint Resolution” section of the

Policy details the process the College follows when there is a sexual misconduct report.

A0388–A0395. The Policy explains that the first step in most cases is a preliminary

meeting between the complainant and the Coordinator. A0388. The purpose of that

meeting is to give the Coordinator “a basic understanding of the nature and circumstances

of the report or complaint.” Id. During the initial meeting, the Coordinator will gather

information, address immediate safety concerns, notify the complainant of his or her rights,

provide information on resources, explain the procedural options, including how to file a

complaint and the complaint process. A0389.

       The filing of a complaint begins the complaint resolution process. Id. Though in

most cases the complaint is made by the complainant, “the College reserves the right to

move forward with a complaint resolution process to protect the safety and welfare of the

community, even if the victim chooses not to make or move forward with a complaint.”

Id.; A0383. The Coordinator usually makes this determination. A0389. Upon receiving

a complaint, the Coordinator will meet with the respondent notifying him or her of the

complaint and alleged policy violations, explain the process, provide information on

resources, among other explanations of the Policy. A0390. Informal resolutions are

sometimes available, but they are never permissible for cases involving sexual assault,

dating/intimate partner violence, domestic violence, or stalking. Id.

       When an informal resolution is unavailable or fails to resolve the situation, the

formal resolution process begins.     A0391.     The procedure section includes general

timelines for each stage but with the caveat that each case presents different levels of

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complexity, as well as other outside factors, that may affect the timing of the entire process.

See A0388–A0397. The first step is the investigation. A0391. The College will appoint

investigators who have received training and who do not have conflicts of interest. Id. The

investigator has discretion over who to interview and what evidence to consider, but

generally the investigation will consist of interviews with the complainant, respondent, and

witnesses and the collection of physical, documentary, or other appropriate evidence. Id.

The parties may suggest witnesses and evidence they believe the investigator should

interview and review, but the ultimate decision is within the complete discretion of the

investigator. Id. During this time, the parties will be notified of the close of evidence date,

after which no additional evidence will be considered, unless the investigator determines

otherwise. A0392. The close of evidence is the conclusion of the investigation. Id. At

that time, the investigator will compile an investigation file, which may include the

complaint, any submitted evidence, audio or written recordings of interviews, and the

investigator’s report of the investigation. Id. The investigation file will then be sent to the

Coordinator, who will review the file and may ask the investigator for clarification,

additional investigation, or to remove/redact information from the report. Id.

       The next step for complaints involving allegations of sexual assault, dating/intimate

partner violence, domestic violence or stalking is to allow each party to review the file and

submit a written response. Id. No copies or photos may be made or taken of the

investigation file, and the responses are subject to a word limit. Id. Then, the parties will

have an opportunity to view each other’s written responses and file rebuttal statements if

desired. Id. Those too are subject to viewing restrictions and a word limit. Id. Once the

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rebuttal period ends, the Coordinator may make the same requests as those authorized at

the end of the investigation. A0393.

       Then comes adjudication. Id. The College will appoint two adjudicators who have

received appropriate training and are free of conflicts of interest. Id. When making their

determination, the adjudicators are to use a “preponderance of evidence” standard to decide

“whether it is more likely than not that the respondent violated the policy.” Id. They

review the entire investigation file and may request additional investigation. Id. Upon a

finding of a violation, the adjudicators will impose sanctions or remedies. A0394–A0395.

The outcome is sent to the complainant and respondent at the same time by letter or email.

A0395. Included in the notice for complaints involving sexual assault, dating/intimate

partner violence, domestic violence, or stalking will be the rationale for the sanctions and

information describing the appeal process. Id.

       Either party may submit an appeal on one or more of the following bases: (1) a

procedural error that substantially affected the outcome of the process; (2) the decision was

arbitrary and capricious or violated academic freedom; (3) a discovery of significant new

factual material not available to the investigator that could have affected the original

outcome; or (4) the sanction or other response was excessively severe or grossly

inadequate. A0396. The party seeking appeal must submit an appeal request to the

Coordinator explaining the grounds for appeal, and the non-moving party may file a written

response to the appeal. Id. The Coordinator will compile an appeal file consisting of the

investigation file, the notice of outcome, the written appeal statement, the responsive

appeal statement, and all prior written statements from parties. Id. For complaints

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involving sexual assault, dating/intimate partner violence, domestic violence, or stalking,

the parties will be allowed to review the appeal file. A0396–A0397.

       If there is an appeal, then the Coordinator appoints an appeal officer who will

determine if “it is more likely than not that the above-listed grounds for appeal have been

satisfied and impacted the outcome of the process.” A0397. If the appeal officer finds in

the affirmative, the matter is remanded for further investigation or deliberation, and new

adjudicators may be appointed. Id. If the appeal officer finds in the negative, the appeal

will be dismissed—a decision that is final. Id. The appeal officer will issue a written

decision including the final disposition of the appeal. Id.

       Apart from the formal resolution process, the Policy also prohibits any form of

retaliation. A0398–A0399. The Coordinator “may exercise discretion to determine an

appropriate responsive process based on the facts and circumstances” when the College

receives a retaliation complaint. A0399. This is a “separate and distinct” process from the

“Procedures for Sexual Misconduct Complaint Resolution” explained above. Id.

                                             C

                              Roe’s Complaint Against Olson

       In fall 2019, Roe told an instructor that she was locked out of her apartment and that

this interfered with her ability to attend class. A0338. Because the instructor believed the

situation involved a domestic dispute, Macalester’s Associate Dean of Students, Andrew

Wells, was informed and initiated a meeting with Roe. Id. During and after the meeting,

Wells advised Roe of her options, which included a no-contact directive, a civil order for

protection, and a Title IX sexual misconduct complaint under the Policy. A0415.

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       On Roe’s request, Macalester issued a no-contact directive to Olson and Roe on

November 6, 2019. A0418–A0419. Olson responded to the notification via email, writing:

“Thank you Andrew. I think this is necessary and it is appreciated.” A0418. The next

day, November 7, 2019, Roe sought a civil order for protection in Ramsey County District

Court. A0421–A0441. The order prohibited Olson from being physically present on the

Macalester campus. A0047. Macalester allowed Olson to continue his coursework off-

campus, and at a subsequent Ramsey County District Court hearing, Roe agreed that Olson

should be allowed to be on campus to attend classes he needed to complete for graduation.

A0457–A0460; A0479.

       On November 8, 2019, Roe initiated a complaint with Macalester’s Title IX office.

ECF No. 98-1 at 43–45; A0561. Olson was notified of Roe’s complaint on November 15,

2019, and he spoke by telephone with Dion Farganis, Macalester’s Interim Title IX

Coordinator, that same afternoon. A0443–A0444. The call’s purpose was to enable

Farganis to “explain to [Olson] [his] rights, the steps of the College’s complaint resolution

process, and try to answer any questions [Olson] might have.” Id. Olson was “very

distraught” during the call and stated he was “under the influence of a number of

substances.” A0047. Olson also told Farganis that he and Roe had a “mutually difficult

relationship” that “seemed to be escalating after the breakup.” Id.

       Roe’s complaint triggered a formal Title IX investigation that resulted in a final

report completed on March 4, 2020. A0560–A0607. Throughout the complaint review

process, Olson was allowed two advisors, though the Policy ordinarily permitted one

advisor. A0047; A0385; A0150; A0610. Sarah Duniway was the third-party investigator

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tasked with assembling the relevant facts for the College to consider when making its

decision. A0560–A0561. Initially, Olson notified Macalester that he had a conflict of

interest with Duniway, but he never followed-up or explained the conflict. A0449–A0451;

see A0387.

       The investigation consisted of interviews with eleven witnesses—including Olson

and Roe—and the report included 241 pages of exhibits. A0560–A0607. Duniway first

interviewed Roe on November 22, 2019, and first interviewed Olson on December 6, 2019.

A0563. Olson’s interview took place at his attorneys’ office in the presence of his counsel.

A0049. Both Roe and Olson had the opportunity to provide evidence and identify

witnesses. A0193. Twenty-one potential witnesses were identified, with Roe suggesting

fourteen and Olson suggesting seven. A0494–A0495; A0564. Six of Roe’s suggested

witnesses, and three of Olson’s, were interviewed. A0563–A0564. After Duniway

interviewed these witnesses, she again interviewed Roe and Olson to fill in gaps, ask

follow-up questions, and give them an opportunity to respond to specific allegations.

A0193; A0563. These second interviews occurred on January 20, 2020, for Roe, and on

February 6, 2020, for Olson. A0563. During this investigative process, Duniway reviewed

around 250 pages of Macalester documents and evidence submitted by both Roe and Olson.

A0561–A0562. These materials included the Macalester Sexual Misconduct Policy,

Student Handbook, Roe’s complaint, text messages, emails, photographs, court filings, and

a homework assignment. Id.

       Once the investigative phase was complete, Duniway prepared a 47-page report

summarizing her findings, dated March 4, 2020. A0560–A0607. Both Olson and Roe had

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an opportunity to review the investigation report and provide written responses. A0616–

A0617. Olson scheduled a Zoom review session with his attorneys for March 11, 2020.

A0612–A0616. Additional review sessions were canceled and rescheduled multiple times

at Olson’s or his attorneys’ request. A0622–A0625. Additionally, Farganis, extended the

review session window altogether and provided weekend viewing opportunities. A0622–

A0623. Olson reviewed the investigation report with his attorneys and submitted a written

response. A0065; A0636–A0639.

       After receiving Olson’s response, Farganis notified Olson that certain sentences, or

parts thereof, in his “response exceed[ed] the scope of information that may be considered

in the complaint resolution process . . . because they refer to concerns raised by individuals

who are not parties to the matter.” A0636. Farganis asked Olson either to re-submit his

response after removing the specified portions or give Farganis permission to redact them

from the original. Id. Olson responded with an email threatening to make the matter, or

perhaps parts of it, public. A0635 (“This is your last fucking chance to get your shit

together before all of your actions in this case go public . . . [I]t looks like Dion here wants

to create an outcome wherein . . . he and the college are sued all the way to hell and back.”).

Olson sent another email the following morning demanding that his original response be

filed. Id. (“If you do not send the letter AS WRITTEN some of the women in my life will

be contacting your office and doing what they can to make your actions known. Reply

ASAP.”). Farganis replied explaining that the decision to remove allegations by other

individuals from Olson’s response is a routine part of the process, and the same standards

applied to Olson are applied to every statement Macalester reviews. A0634. The deadline

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for Olson to provide an updated or redacted statement passed, so Farganis redacted the

sentences from Olson’s original written response and considered it submitted. A0633. Roe

also submitted a written response to the investigation report. A0629–A0631.

      After the written responses were submitted, the rebuttal stage of the process began.

A0649. This stage provided Roe and Olson each an opportunity to review the other’s

statements and to submit a rebuttal statement of no more than 1,500 words. A0649; A0665.

Farganis extended the review period an extra day after Olson indicated he was not in a

stable mindset, and a Zoom meeting to review Roe’s written response was scheduled for

April 2, 2020. A0660–A0663. Both Olson and Roe then submitted rebuttal responses.

A0668–A0670; A0672–A0674.

      The adjudication phase was next. Two Macalester officials were chosen as the

adjudicators for Roe’s complaint: Eily Marlow, Program Associate for Vocation and

Reflection, and Robert Graf, Director of Employment Services. A0620. The selected

adjudicators were to “determine whether it [wa]s more likely than not that [Olson] engaged

in a policy violation and, if they [found] [Olson] responsible for a policy violation, they

[would] impose sanctions.” A0661. This information was sent to Olson and his two

attorneys on March 12, 2020. A0620. The parties had two days to notify Farganis if they

had concerns about the chosen adjudicators, but neither party raised concerns. Id.; A0393;

A0387. The two adjudicators received training on the Policy and how to fairly adjudicate

sexual misconduct complaints. A0926 ¶¶ 3–4; A0938–A0939 ¶¶ 3–4. In adjudicating the

complaint, Marlow and Graf reviewed the Policy, the investigation file, and the parties’

written responses and rebuttal statements. A0927 ¶ 8; A0939 ¶ 8.

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       The adjudicators provided their Notice of Outcome on May 8, 2020, which

explained their findings and rationale. A0687–A0722. They found that “it [was] more

likely than not that Ian engaged in domestic violence, stalking, and sexual harassment as

defined by the Policy” and “engaged in hostile environment harassment of [Roe] on the

basis of her actual or perceived religion.” A0714. The Notice imposed three sanctions

against Olson: expulsion, an amended no-contact directive, and a no trespass notice.

A0715–A0716. Olson’s expulsion from Macalester was effective immediately on May 8,

2020, eight days before he was to have graduated. A0715. The no-contact directive put

the burden on Olson to remove himself from any situation where he and Roe happened to

be in the same space and required him to remain at least 25 feet away from Roe. Id. The

no-trespass notice prohibited Olson from visiting Macalester’s campus and attending any

Macalester functions or events without prior approval from the Title IX Coordinator.

A0716.

      The Notice of Outcome also contained information about the appeal process. Id. It

explained that any “appeals must be submitted in writing to the Title IX Coordinator within

ten (10) days from the date of [the] letter” and “may not exceed 2,000 words.” Id. Olson

sought a two-week extension of the appeal deadline “due to the serious and nearly-grave

nature of [his] medical illnesses,” “COVID-related delays,” “several advocacy groups and

two federal agencies . . . actively involved in supporting [Olson],” and alleged, though

unspecified, extensions Macalester gave to itself. A0732–A0734. Macalester extended

the appeal deadline two days.       A0731.    Olson responded that the extension was

“unconscionable” and that the new deadline “does not allow [his] lawyer’s office proper

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time to prepare for an appeal . . . due to delays from COVID.” Id. Several minutes after

Olson’s first response, he sent another email complaining that Farganis should “not [be]

allowed to give [himself] extra time and then to deny it to [Olson].” A0730. Olson also

wrote: “Stop fucking with me, Dion.” Id. Farganis replied, explaining that “the policy

makes clear that the College does not unnecessarily delay its processes to accommodate

the schedules of advisors.” Id. That same day, Olson submitted a letter from his

psychiatrist supporting the requested appeal deadline extension. A0737. After receiving

the letter, Macalester emailed Olson and his psychiatrist asking for “specific and concrete

terms” that explain Olson’s barriers to meet the already extended deadline and how the

additional requested time would eliminate those barriers. A0746. Olson responded with a

string of emails over the next two hours:

           “Every hour that passes you are deliberately sidestepping the
            law.” A0745.

           “The sheer bias you display in forcing me to type emails like
            this, while significantly medicated and in distress, is
            inhumane.” Id.

           “You are forcing a very disabled adult to worsen his illness
            simply because, somewhere in your 100 billion neurons, you
            lack the ability to follow the law. It is fucking pathetic and it
            will only escalate the consequences for you.” Id.

           “You don’t need another note from my doctor, you need a
            fucking sliver of compassion.” A0746.

           “You have all the power in the world to be compassionate and
            to follow the law and you are continually choosing not to. It’s
            as if you are utterly excited to have the Office of Civil rights
            up your ass for the next year.” A0744.



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          “I already went above and beyond and provided private
           medical information to you re: suicidality 2 weeks ago. That
           you would disregard that information is heartless and is part of
           why kids at Macalester kill themselves from time to time. You
           are fucking around. It is really, really, really pushing me.”
           A0745.

          “In my imagination I can see you typing one of your
           characteristically avoidant and buffoonish replies.” A0744.

          “Are you trying to make me hurt myself, or is that just
           something you’re doing out of sheer stupidity? Macalester
           does not need another dead student on its hands and you are
           pushing an individual with mental illness to his breaking
           point.” A0743 (emphasis in original).

          “You continue to act like your brain is full of helium instead of
           working neurons. It is shocking that you and your stupid-ass
           brain continue to force me to write these messages. Stop
           pressuring me and stop interfering with my health. Every
           passing minute I am falling apart and it is your fault. You serve
           me and the student body and you’re asking me to lick your
           rotten toes.” Id. (emphasis in original).

          “You can and will extend this deadline to 6/1. Or else, as I’ve
           said, things will keep escalating. I can assure you that you don’t
           want that.” A0744.

          “I would not be unraveling mentally and emotionally if you
           would just stop posturing and do your fucking job, Dion.
           Extend the deadline. Stop pushing me. You have until 3pm.”
           Id.

          “Why on earth would you impose this capricious deadline on
           such an ill student? what the fuck is wrong with you people?
           Hurry up and offer reasonable accommodation before this
           continues to escalate.” A0742.

      Olson copied his psychiatrist on these emails. A0742. Macalester’s Title IX and

Bias Harassment Coordinator, Regina D. Curran, responded to Olson’s email string by



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providing several resources for mental health crises, encouraging Olson to seek support,

and offering to help him connect with the various resources she had identified. A0742–

A0743. Curran also explained that the College was still waiting to receive more detailed

information from Olson or his psychiatrist regarding the need for an additional extension.

A0740–A0741. Olson responded with the following:

           “The distress I am experiencing is directly related to the
            bullshit posturing and arbitrary demands you are placing upon
            me and my doctor. . . . Stop feigning concern for my health;
            start doing your job. You absolute clowns.” A0740.

           “Your office is so full of shit that you have angered my entire
            wellness network. That you have already received
            communications from me, my psychiatrist, and my emergency
            contacts and are still trying to insert yourself into a ‘plan’
            makes me wonder if your brain is filled with whipped cream
            rather than neurons.” A0739.

           “Reasonable accommodations have been requested for a week
            now and you turds continue to provoke me and litigate the
            circumstances of my accommodations. My psychiatrist will be
            reaching out to you shortly, in the meantime pull your rotten
            head out of your asshole and stop provoking my speech, mood,
            and illness overall.” A0739–A0740.

      Olson’s psychiatrist provided additional and more specific reasons why an

additional extension was necessary. A0755–A0756. Macalester then extended Olson’s

appeal deadline one more week. A0752. In total, Macalester provided nine extra days for

Olson to file an appeal. Id. Olson continued to communicate his complaints regarding the

appeal process in emails:

           “This appeal process follows the needs of my illness and not
            the other way around. Your bullshittery has been noted and
            your current lack of compliance is being fwd’d to a large # of
            alums.” A0751.
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           “Damn your wretched soul for your weak-ass citations of
            meager parts of my voicemail.” A0750.

           “So fuck your fat ass to hell for continuing to antagonize me.
            You won’t last a semester at Macalester with this degree of
            ineptitude and oafishness. . . . You are absolutely fucked.”
            A0750–A0751.

           “Fuck you for making the initiation of this process so difficult
            already. No wonder your career looks like a pile of rotting dog
            crap on the side of the road than anything a capable human
            being would formulate. Good luck on your next job after Mac.”
            A0751.

           “If I am hospitalized in the next week it will be your fault. What
            a bowl of grease you are. Now I cannot calm down because
            another bitch-ass white woman is pretending like she knows
            my illness better than I do. Grab a snickers, sit down, and
            consider whether you want to offer reasonable extension or
            whether you want to keep being a bitch.” Id.

           “I have a deadly illness that your cottage-cheese looking ass is
            provoking.” A0750.

           “You will be hearing from many more alums tomorrow. Wipe
            the butter out of your ears and listen up: fair and equitable
            accommodations for my flexibility follow the needs of my
            illness and not the other way around.” Id.

       Olson submitted his appeal on May 27, 2020. A0724–A0728. Roe filed a written

response. A0758–A0760. The parties then were given the opportunity to review the appeal

file. A0783. Macalester Director of Accounting, Dave Berglund, was selected as the

appeal officer. A0778. Olson was allowed an opportunity, as he was with the investigator

or adjudicators, to raise concerns with the selection or if he believed there was a conflict

of interest. Id. Olson requested Berglund’s CV, but Macalester refused to provide it on



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the ground that it was not part of Macalester’s process. A0776. Olson also requested that

“Macalester appoint an outside and independent appeal officer to handle [his] appeal”

because he thought an in-house appeal officer created a conflict, though Olson provided no

specific concerns regarding Berglund. Id. Macalester declined Olson’s request, explaining

there were no conflicts between Berglund and the adjudicators, and that in its view the

College’s use of in-house adjudicators and appeal officers was consistent with federal law.

A0775. Berglund received training on the Policy and on unbiased decision-making.

A0911–A0912 ¶¶ 3–4. He had never met Roe or Olson. A0912 ¶ 6.

       Olson attempted to submit additional evidence that included photos of Roe’s wrists

and a photo of a lock Roe allegedly destroyed. A0780–A0783. He claimed he submitted

these documents by adding Curran’s email to a “shared” list within Google Photos, but

Curran stated she never received any type of email. Id. Olson sent another email, but this

time included the link to the photos. A0781. Though Macalester received the photos the

second time, it requested confirmation that the materials were sent before the evidence

deadline. Id. Olson took the position that Macalester was “arbitrarily trying to exclude

relevant evidence from the appeal file, just as [it] did during the original investigation.” Id.

Olson provided no proof that the materials were sent within the deadline, but Macalester

nonetheless included the photos in the appeal file. A0780.

       Berglund reviewed the parties’ statements, the underlying investigation, and

additional evidence submitted by Olson. A0912 ¶ 9. He “also requested and reviewed

additional information relating to Olson’s assertions regarding his opportunity to review

the investigation report and attachments.” Id. On July 9, 2020, Berglund’s appeal decision

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was issued.   A0801–A0813.     Berglund upheld the decision of the adjudicators and

dismissed the appeal. A0802. He concluded that Olson failed to establish grounds for his

appeal and affirmed the sanctions previously imposed. A0802–A0813. The appeal

decision was final and not appealable. A0813.

                                           D

                            Olson’s Complaint Against Roe

      Olson first raised concerns about Roe to Macalester in November 2019 after being

notified of Roe’s complaint. A0048–A0049; A0456. In a November 19, 2019, email to

Wells, Olson wrote that “Dion will be helping [him] write a Title IX complaint against

[Roe] which is long overdue based on her behaviors during the relationship. The

problematic dynamic was mutual.” A0456. On November 21, 2019, Olson sent several

emails to Macalester administration. He emailed Farganis and explicitly stated that he

wanted to file his own Title IX complaint. A0483. He emailed Farganis and Wells to

inform them that Roe had been contacting Olson’s “extended network” and warning them

that “Ian is a domestic abuser.”       A0468–A0470.       Olson explained that Roe’s

communication “was a violation of ALL current orders standing between [Olson] & [Roe]”

and it was “EXTREMELY creepy behavior and [was] only meant to cause harm.” A0470.

He asked them to “please make note of this and take appropriate action.” Id. The next

day, Olson followed-up and again indicated his desire for Macalester to investigate Roe.

A0469. After noting that he and Farganis were supposed to talk that day, however, Olson

communicated that he was now unavailable because he was on the phone with his parents.

Id.

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       Farganis responded, explaining that “[u]nder College policy, the College will take

appropriate action against any individual who is found to have retaliated against another

person, violated a No Contact Directive, or engaged in other conduct in violation of the

College’s policies, including the College’s harassment policy. First, however, the College

must engage in a process to determine if such a violation has occurred.” A0468. Farganis

further informed Olson that he had reached out the previous day to schedule a time to speak

with Olson about his complaint, and that once he had more information about Olson’s

complaint, he “will be able to determine an appropriate responsive process that the College

will follow as [it] look[s] into [Olson’s] complaint.” Id. Olson did not respond.

       On December 2, 2019, Farganis followed up, asking when Olson had time to meet

so that Farganis “[could] gather information about [Olson’s] complaint and determine

possible next steps.” Id. On December 13, Farganis reached out “to check in again

regarding [Olson] filing a complaint against [Roe].” A0483. Farganis explained that “if it

is something [Olson] [is] still intending to pursue, [they] should probably connect about

that sooner than later.” Id. That same week, Olson asked if Farganis had any availability

to talk within 48 hours. A0487. Farganis responded and apprised Olson of his availability,

but Olson did not respond. A0486. Still without a response, Farganis emailed Olson again

five days later, on December 26, 2019, to see if the two could discuss the circumstances

around Olson’s complaint. Id.

       On December 27, 2019, Olson emailed Farganis and communicated that he wanted

to file a Title IX complaint against Roe but was afraid to do so because of Roe’s potential

retaliatory actions. A0508. Olson wrote, “the thing I’m afraid of is more retaliatory action

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from [Roe]. How do I know she won’t do something else if I take the steps to file a

complaint against her? . . . Put yourself in my position. Do you really think it’s safe for me

to file a Title IX? . . . I just want to preserve my right to go to school and feel that if I file

a Title IX complaint against [Roe] something bad will happen to me, and I don’t want that.”

Id. In that same email, Olson also discussed Roe’s alleged harassment of her ex-boyfriend

and ex-boyfriend’s brother, the missing lock on his door that Roe removed, and property

he alleged Roe took from him, including a camera. Id. Olson sent another email the next

day further explaining his fear of Roe. A0507–A0508. His concerns included that

additional Macalester women had blocked him on Facebook and that Roe “is known to

carry several large knives on her person at all times.” Id. The email also communicated

his dissatisfaction with Macalester: “You said [you] would ‘take appropriate action’ way

back in November when I first alerted you guys to [Roe’s] ongoing harassment but it

doesn’t seem like you took any action at that time. Seeing as I haven’t even filed an official

Title IX investigation yet I am not quite sure whether you guys are serious about being

helpful. . . . You have asked me over & over if I would like to talk & yet when I tell you

what is going wrong I don’t hear what consequences there will be for Roe.” Id.

       Farganis responded the next day, December 29, 2019.                A0506–A0507.        He

reemphasized the instructions from his November 22, 2019, email and again explained that

the first step in the College’s process is for the student to meet with Farganis to discuss the

situation and circumstances prompting Olson’s anticipated complaint. Id. Farganis listed

the four previous dates he requested to speak with Olson (November 21, December 13,

December 21, and December 26) and asked if Olson would speak with him that week. Id.

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He asked for copies of the threatening and harassing messages Olson had previously

referenced, and he pointed Olson to College resources regarding safety concerns. Id.

Farganis also wrote: “Please note that although additional resources and interim measures

from the College may be available, the scope of the response by the College may be

impacted or limited if you decide not to move forward with a complaint.” A0507. Olson

did not respond. A0506.

       Farganis sent a follow-up email on January 2, 2020, asking if he and Olson could

schedule a time to talk.     Id.   Olson responded that same day in a lengthy email,

communicating his desire for an in-person meeting at his attorney’s office and his

disappointment with Farganis’s lack of action. A0504–A0506. He also explained that at

a “court date on 12/6 [Roe] and her lawyer threatened legal action against [Olson] if [he]

filed a Title IX complaint against her.” A0504. He said that he is “not delaying [his] Title

IX complaint out of a lack of need but rather because [he] [is] pretty f&#k*ng terrified

about what this person is going to do to [him] next.” Id.

       Farganis responded just over an hour later, explaining that he could meet with Olson

at his attorney’s office anytime that afternoon or the next day. Id. Olson’s attorneys, who

had been copied on the email chain, replied that they reserved a conference room at their

office and said to let them know when “you” can come over. Id. Farganis responded to

the email, including both Olson and his attorney, not knowing if Olson’s attorney’s email

was directed at Olson or Farganis and asking if Olson intended to meet that afternoon or

the following day. A0503. Olson did not respond. Id. The next morning, on January 3,

Farganis sent a follow-up email asking whether they settled on a time to meet. Id. Farganis

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said that “[he]’d like to do this today if possible,” but asked that they decide and

communicate a time as soon as possible because his schedule for the day was starting to

fill up. Id.

       About two hours later, Olson responded that he “didn’t hear back on the lengthy

email that [he] wrote to [Farganis] which is concerning” and “because of the

communication challenges that [Olson is] facing it would help to have those addressed

before [they] meet.” A0502. He continued:

               Patrick/Ferd, thanks for offering to meet today but because of
               some unexpected demands from my boss today, and the
               opportunity to schedule an appointment with a new therapist in
               about a half hour it looks like meeting today isn’t ideal. I will
               be in touch over the weekend but am still scared about the
               potential outcomes of filing a Title IX against [Roe] and
               whether or not this will cause her to interfere with my
               education or well-being.

Id. Farganis responded on January 4:

               I received your email on Thursday and reached out with my
               availability for a meeting in response. A meeting with the
               person raising concerns to gather additional information is
               generally the first step of the process when we receive concerns
               related to potential violations of the policy. After we meet, I
               will be in a better position to determine the appropriate
               responsive process from the College.

               Again, the College is taking your report seriously and I would
               like to meet (or speak by phone, if that is easier for you) to
               discuss your concerns, the College’s process, and available
               resources. Regarding your concern about filing a complaint, I
               do want to reiterate that you are not obligated to move forward
               with a formal complaint after we meet if you do not want to do
               so.




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             Please let me know when you would like to meet or speak by
             phone. Your advisor is welcome to be present for either of
             those conversations.

Id. Olson responded on January 5:

             [Roe] threatened retaliation if I meet/speak with you to file
             a report. Since filing her own NCD [Roe] harassed me in my
             personal life and I asked you to deal with it, and to explain to
             me how you were dealing with it. Filing a report with you
             will lead to more threatening/harassing actions from [Roe].
             I have made this clear and asked you to address it. This has
             been going on since November and aside from throwing out
             clauses from the student handbook you are not helping,
             and you are not hearing me.

A0501 (emphasis in original). Farganis responded that same day:

             I assure you that I am hearing you. I understand that you are
             frustrated that the College has not taken action against [Roe]
             based on your report. But as I have stated previously, before
             the College takes action based on a report, we must engage in
             a process to determine if a violation of College policy has
             occurred. Just as the College is going through a process to
             investigate [Roe’s] allegation that you have violated College
             policy, we need to have a process to investigate your allegation
             that [Roe] has violated College policy.

             As I have mentioned before, it would be very helpful to speak
             with you to gather more facts and details related to your
             concerns and to get your input on the College’s next steps. I
             want to assure you that if [Roe] or anyone else is found to have
             engaged in retaliation or another violation of College policy
             after you speak with me, the College will take appropriate
             action in response. I encourage you to speak with me to
             provide additional information and so that we can discuss your
             rights and options under College policy. If you are not willing
             to meet with me to provide additional information, the College
             will take reasonable steps to respond to your report; however,
             the scope of the response by the College may be limited
             without additional information related to your concerns.



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              Please let me know if you are willing to speak with me and we
              can set up a time. As I have said before, your advisor is
              welcome to attend any call or meeting.

Id. In a separate email chain to Wells the next day, Olson communicated that “[a]ll [he]

want[s] is to graduate,” and though he desired to pursue a Title IX complaint against [Roe],

he feared retaliation and did not want to “f--- up her education as well.” A0542. Olson

also wrote: “Dion has continued to push/support me to file a Title IX against [Roe].” Id.

       Additional email correspondence occurred in mid-February. A0512–A0518. What

began as a reminder for Olson of the evidence deadline in Roe’s Title IX complaint process

soon shifted into an exchange regarding Olson’s concerns. Id. Olson asked to meet with

Farganis “in-person as soon as humanly possible” to discuss Roe’s alleged harassment and

violations of the no-contact-order. A0517. He also alleged that Roe “has continued to

make threats against people in [his] life” and “[i]t has been over three months since [he]

first reported [Roe’s] threatening behaviors to [Macalester].” Id. Farganis replied the next

day, February 14:

              You stated in your email that another individual has harassed
              you and threatened your education. It is important that we
              gather more information about this as soon as possible. I will
              work with Andrew on arranging a time to meet or for a phone
              call so that you can provide us with more details about this
              incident or incidents, we can discuss your rights and options
              under College policy, and so that we can help direct you toward
              available resources.

              You raised concerns about threats made by [Roe] as well as
              [Roe] violating the no contact directive. You indicated that
              you previously reported this conduct to the College. As you
              know from our past communications, we made a number of
              efforts to gather additional information about these allegations
              so that we could determine an appropriate responsive process,

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             including in emails dated Nov. 21, Dec. 13, Dec. 21, Dec. 26,
             Dec. 29, Jan. 2, Jan. 3, Jan. 4, and Jan. 5. You declined to speak
             with the College to provide additional information and to
             discuss your rights and options under College policy.
             Therefore, based on the information that I had from your
             emails dated Nov. 21, Nov. 22, Dec. 27, Dec. 28, and Jan. 2, I
             met with [Roe] in an effort to look into your allegations. As I
             indicated to you in my email on Jan. 5, the scope of the
             response by the College may be limited without additional
             information related to your concerns.             Based on the
             information you provided and on my meeting with [Roe] the
             College currently does not have sufficient evidence to
             determine that a policy violation was committed by [Roe].
             However, I encourage you to speak with me to provide me with
             additional information about your concerns so that the College
             can engage in a further process to respond to your report.
             Again, I will work with Andrew on scheduling a time to meet.
             As I have said before, if [Roe] or anyone else is found to have
             engaged in retaliation or another violation of College policy,
             the College will take appropriate action in response.

A0516. Olson responded that same day:

             So you are saying that a policy violation was NOT committed
             by [Roe] when she harassed former employers, friends, and ex-
             girlfriends living everywhere from the local area to as far away
             as China? . . . Everything I can see about Macalester's policy
             violations tells me that [Roe] did in fact violate the policy.
             Furthermore, she regularly threatened to harm herself and/or
             me if I did ever file a complaint against her, and with her
             lawyer's help similarly threatened me at court. . . . These are
             the reasons I am afraid to meet with you and why I have
             continued to hesitate. . . . I think if I were a woman or if my
             disabilities were being acknowledged Macalester would be
             treating me differently. The information I already gave
             indicates that [Roe] did violate policy whereas the complaints
             she has made about me are hearsay. I want to get together to
             meet but can you see why I am concerned both for my safety
             and for the effectiveness of your office?

A0515. Farganis replied on February 17:




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     I again want to assure you that we are taking your allegations
     seriously, as we do with every report we receive about potential
     violations of College policy. I understand that you have already
     provided the College some information about your allegations
     that [Roe] has violated College policy. But the reason I have
     asked to meet with you multiple times before is that although
     you have made allegations, you have not provided sufficient
     facts surrounding those allegations to establish that a policy
     violation occurred.

     As I have mentioned in our previous communications, after
     receiving an allegation of a violation of College policy, the first
     step is generally to meet with the party making the allegation
     to gather additional information about that allegation. In other
     words, just as the College is going through a process to gather
     additional facts related to [Roe’s] allegation that you have
     violated College policy, we need to engage in a process to
     gather additional facts related to your allegations that [Roe] has
     violated College policy. You have not met with me or spoken
     with me to provide those additional facts. Therefore, in the
     interest of trying to move the process forward, I met with [Roe]
     to discuss your allegations as you had presented them in your
     various emails. Based on [Roe’s] responses and the
     information you have provided, the College currently does not
     have sufficient evidence to determine it is more likely than not
     that [Roe] violated College policy -- the standard for finding
     any policy violation.

     I want to clarify that the College is not finding that [Roe] did
     not violate College policy. Rather the College has concluded
     that, without additional information, we do not have sufficient
     evidence to determine that it is more likely than not that [Roe]
     violated College policy. I also want to note that with regard to
     your allegation that [Roe] violated the no contact directive,
     [Roe] contacting other individuals is not a violation of the no
     contact directive unless [Roe] has asked those individuals to
     contact you on her behalf.

     Again, I encourage you to meet with me to provide additional
     information about your allegations and so that we can discuss
     your rights and options under College policy. We can also
     discuss resources that are available to you. A list of resources
     is included in the Sexual Misconduct Policy. As a reminder,

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            you are not obligated to move forward with a formal complaint
            after we meet if you do not want to do so. Please let me know
            if you are willing to speak with Andrew and me and we can set
            up a time. Your advisor is welcome to attend any call or
            meeting.

A0513–A0514. Olson responded in two emails on February 17:

            So what I am hearing is that you met with [Roe], found her
            complaints against me to be credible and proceeded with an
            investigation. But when I brought my allegations to [Roe] to
            your inbox directly, WITH evidence, you never found them to
            not be a violation, and declined to proceed? The next thing I
            am hearing is that even though I presented you with
            documented violations of college policy you decided to bring
            them straight to [Roe]. In the meantime this has emboldened
            her harassment. Dion, I have serious doubts in your abilities to
            proceed or do any of this whatsoever. I already provided you
            several documented instances of [Roe] seriously violating
            policy; and her actions at the gym with BL were violent and
            unsafe. Your continued preferential treatment of [Roe] is
            noted. I am happy to meet with you this week but as you have
            already shared my private complaints with [Roe] and allowed
            her to respond/be further EMPOWERED in her harassment, I
            will be looking into further legal action against you. It is
            tremendously disappointing that when I presented documented
            evidence of abuse against me, you simply said “We need to
            meet to discuss this” and on the side gave all of my complaints
            to [Roe] directly. You are not supporting me and you are
            helping [Roe] who is making completely false claims of abuse,
            threaten my education and my personal safety. This looks like
            it's going to get really ugly. . . . We should probably meet with
            Andrew and/or DeMethra. I do not trust you to take these
            complaints on your own.
                                             ***
            I will add that it has been hard to “meet with you” when [Roe’s]
            overblown and discriminatory OFP prevents me from coming
            to campus at all. All I am seeing here is that because [Roe] is a
            woman, and because she met with you in-person and presented
            a sob story, that you found her baseless allegations of physical
            abuse to be worthy of investigation. And that by contrast, as
            my rights are being continually violated and my life/the life of
            those around me threatened, you don't feel compelled to act.

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             This is disappointing. Please let me know when we can
             meet. . . . You should not have given [Roe] direct access to the
             e-mails that I sent you regarding my safety without initiating a
             formal complaint. This is borderline ineptitude and I will be
             taking proper action to complain about your and Andrew's
             inability to proceed according to protocol. It is your job to
             enforce this policy and I have now learned that it was YOUR
             inaction that emboldened [Roe] to continue sending
             threatening and slandering messages to myself and others.
             You should have stopped her. I am an adult living with a
             disability who struggled endlessly to evict an abusive woman
             and you by all indications are biased in her favor. We should
             discuss this in person so that I can finally file a ‘real’
             complaint. I have a lot of time this week and look forward to
             chatting with you soon.

A0512–A0513 (emphasis in original). Farganis replied that same day, stating that he and

Wells “would welcome the opportunity to meet with [Olson] in person at [Olson’s]

lawyer’s officer later th[at] week” and asked for days and times that worked for Olson.

A0521–A0522. It is unclear whether Olson responded to this email or took Farganis up on

the offer to meet. But in response to an email chain regarding the extension of Olson’s

deadline to file evidence in Roe’s Title IX process, Olson shared more frustrations.

A0535–A0536. He wrote:

             When [Roe] came to your office to spin a tale about abuse, you
             opened an investigation for her immediately. I have sent you
             email after email after email of formal policy violations
             enacted by [Roe]. YOU SIMPLY SAT [ROE] DOWN,
             HANDED HER THOSE MESSAGES, AND ALLOWED
             HER ABUSE TO CONTINUE/ADAPT. There is no precedent
             for this. You have not only blatantly favored [Roe’s] lies, and
             suggested my conduct ‘required an investigation,’ but you have
             refused to act on the DOCUMENTED violations of policy that
             [Roe] has instantiated since November. For five months you
             have refused to help me, claiming an ‘in person meeting’ is
             needed for the college to recognize a policy violations. I HAVE
             TOUCHED BASE WITH FOUR OTHER COLLEGE TITLE

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             IX COORDINATORS AND YOU ARE WRONG AND
             YOUR ACTIONS ARE SUBJECT TO LEGAL ACTION. It
             is discriminatory and unsafe that your choice to continually
             update [Roe] about my complaints against her, rather than
             opening an investigation, was your course of action. Tell Sarah
             to call me and quit sending me snippets from the student
             handbook. Me and my lawyer will be in touch.

Id. Farganis responded with a lengthy email on February 19. A0531–A0535. This email

sought to “clarify any misunderstandings about the College’s process and the College’s

response to [Olson’s] allegations.” A0531. In relevant part, he wrote:

             In the course of our email communications, you have made a
             number of allegations about [Roe]. Most of those allegations
             were general in nature, and lacked the kind of specificity and
             detail that we need in order to conduct a thorough investigation
             and determine whether any policies may have been violated.
             This is why I asked on multiple occasions for you to provide
             more details about these allegations. You declined to provide
             me with any additional specifics or details, but you continued
             to ask the College to move forward with a process to respond
             to your allegations. Therefore, the only option available to me
             was to meet with [Roe] to investigate your allegations as you
             had relayed them in your emails.

             Prior to meeting with [Roe], I let you know in a January 5 email
             that we would be taking steps to respond to your allegations.
             To be clear, the function of that meeting was not to “hand her”
             your complaint, but rather to get her response to your
             allegations. When a student is accused of a policy violation,
             part of the process is to give them a chance to respond to that
             allegation. Just as the investigator has given you an opportunity
             to respond to [Roe’s] allegations against you, I met with [Roe]
             to give her an opportunity to respond to your allegations. Based
             on [Roe’s] responses and the information you have provided,
             the College currently does not have sufficient evidence to
             determine it is more likely than not that [Roe] violated College
             policy.

             To help you understand this aspect of the process more fully, I
             have compiled a list of the allegations you have made in your

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             emails (in bold). Below each allegation, I have included some
             sample follow-up questions. These are precisely the same
             kinds of questions we would ask of any reporting party in the
             initial stages of an investigation into potential policy
             violations, and they are the same kinds of questions we asked
             [Roe] before moving forward with her formal complaint.

A0531–A0535. Farganis then provided specific follow-up questions relevant to the general

allegations Olson had asserted. A0532–A0534. Farganis then explained: “Simply put,

unless we gather more specific information related to your allegations, there is nothing

more the College can do to investigate those allegations. You can provide that information

to me or another member of the Title IX team in person, by email, or both.” A0534.

      Olson sent three response emails within the hour of Farganis’s email. A0530–

A0531. Among other things, Olson wrote:

             [Roe’s] behaviors not only explicitly violate the no-contact-
             directive but constitute harassment and stalking. Macalester’s
             entire Sexual Misconduct Policy contains line after line of
             violations that [Roe] has enacted. I have already provided you
             with several examples of these and you have neglected to
             follow through. I have told you that for several months [Roe]
             continued to live in my apartment, off-lease, without my
             consent. I have told you that she destroyed the lock on my front
             door in an effort to continue gaining entry. I have told you that
             she threatened to throw my medication away and, on at least
             300 occasions, questioned my sanity. Primarily, [Roe] has
             continued to harass women who YOU WILL NOT DEFEND
             BECAUSE THEY ARE NOT A PART OF THE
             MACALESTER COMMUNITY. You and your entire office,
             as well as the Dean’s office, has made an ongoing choice to
             support [Roe’s] abuse and deny my claims. If I were a woman
             you would be treating my allegations seriously, is what your
             behaviors have explicitly indicated. Dion, you have yet to
             explain to me why you are preferring [Roe’s] complaints over
             mine. . . . Get your act together. For the safety of other students
             you might encounter in the future I beg of you that you consider
             a different career path.

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                                           ***
              And if someone can offer clear explanation that in fact
              mentally ill men are not worthy of the same basic protections
              that women are, so be it. Maybe one of you are more aware of
              ‘higher rights’ that white women have in these Sexual
              Misconduct claims than mentally ill men do. . . . So I must have
              missed a memo – why are you supporting her, a white woman,
              and not me?
                                           ***
              [Roe] destroyed the lock on my door because she was and is a
              manipulative, controlling abuser. [Roe] destroyed the lock on
              my door because she wanted to cause property damage and
              enter my apartment without my consent. Is that clear enough
              for you, Dion, or do you need a special sit-down? If she were
              to walk up to my front door she could enter just fine. How
              many clear examples [of] abuse do I have to offer to you before
              the message enters your brain? If I had a vagina would you take
              [Roe’s] actions seriously?

A0530–A0531.

       The record does not indicate whether Farganis responded to these emails. But on

February 21, Olson responded to Wells’s previous email from January 6, writing that “Dion

is not investigating any of my claims or taking them seriously” and asserting that Roe and

her attorney’s alleged threat of legal action on December 6 “was a documentable violation

of policy and that you should have been investigating [Roe] since the moment I brought

this to your attention, and that having this information should have prompted that from you

as a part of your legal obligation to the duties of your job.” A0541 (emphasis omitted).

Wells responded by copying Farganis on the email and providing times for Farganis, Wells,

Olson, and Olson’s advisor “to meet in person to discuss the complaint [Olson] wish[es] to

file against [Roe] to ensure [Olson] [has] a full and accurate understanding of [his] rights

under the law and under the campus policy.” A0540. Instead of setting up a time to meet,


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Olson responded with more accusations that Wells and Farganis “have failed to take

[Olson’s] complaints seriously and have supported [Roe’s] completely false narrative of

abuse.” A0539. Olson told Wells in his email that “[y]ou are inept and Dion is inept, &

as we both know Dion is a mere coordinator with zero accountability.” Id. Olson

continued: “With all the love I have in my heart for this community I want to say, in clear

and simple terms, that you are fucking up. Relaying any further complaint to you, in-person

or not, would be like stapling it to a tree.” Id.

       On March 4, 2020, Olson and his attorneys met with Macalester’s Assistant Vice

President for Student Affairs and Dean of Students, DeMethra LaSha Bradley, and

Macalester’s Deputy Title IX Coordinator, Jody Gabriel. A0609. This constituted Olson’s

intake meeting. Id. In a post-meeting follow-up email, Bradley again informed Olson that

he may file a complaint under the College’s Sexual Misconduct Policy. A0609–A0610.

She explained that “[f]iling a formal complaint is the first step in the College’s formal

complaint resolution process. The College would then move forward with an investigation

using an impartial investigator.” A0609. That same day, Olson responded to Bradley’s

email stating, “[he] would like to move ahead.” Id. Bradley also told Olson that, though

the College’s policy only allows a student to have one advisor during the Title IX

investigation, the College was willing to make an exception for Olson. A0610. She asked

him to have both advisors sign the advisor agreement if that was how Olson wanted to

proceed. Id. Olson’s attorneys/advisors responded that they would sign and return the

advisor agreement. A0609.



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      On March 19, Bradley sent Olson a draft complaint summarizing Olson’s report to

her at their March 4 meeting. A0627; ECF No. 98-1 at 76–78. She asked him to review

and approve the complaint and notify her if there was anything else he preferred to include

in his complaint. A0627. It is unclear if Olson responded to Bradley. But as of March 29,

Olson still had not provided Macalester an updated and approved complaint. A0642. An

email to Olson communicated “that the College is prepared to move forward with an

investigation of your complaint against [Roe]. We are currently waiting for you to provide

an updated complaint.” Id. Olson responded on March 30:

             [S]end the f*cking letter to start the TItle [sic] IX investigation
             TODAY. Send it NOW. I will update Demethra’s woefully
             brief statement once the investigation has gotten started.
             Demethra asked for my final confirmation to begin this process
             WEEKS AGO and I can update her once this shit has gotten
             started.

             If any of you had done your job you would have started
             investigating [Roe] in November, when her harassment and
             lies began. For reasons obviously related to my mental illness
             you have continued to question my sanity, demand more
             information, and continually place [Roe] outside of the scope
             of ANY accountability.

             Send the fucking letter. Please? Why do you continue to wait?
             I am not able to edit Demethra’s incomplete statement until it
             is at least put forth. You people have enabled [Roe] in
             destroying my life and I feel that everyone reading this email
             knows I’m as good as expelled or in jail already. Her
             accusations will not stop because your help will not start. My
             safety, education, and sanity depend on it. Start the fucking
             investigation.

A0633–A0634; A0641. Farganis responded that same day:

             We will move forward with noticing [Roe] of your complaint
             and will proceed with an investigation. As you know, based

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              on your email from March 23, 2020, we had been waiting for
              you to send an updated complaint. Based on your request in
              the email below, however, we will move forward based on the
              information in the current version of the complaint.

A0641.

       On March 31—the day after Olson confirmed his intent to move forward—Roe was

notified of Olson’s formal Title IX complaint against her. A0651. In an email chain on

that same day about the rebuttal period for Roe’s complaint, Olson wrote, “[i]s there any

chance your office could initiate step #0 in my complaint before moving along with step

#956 in [Roe’s].” A0656. A Macalester official (using the Macalester Title IX Coordinator

email account) responded, “[a]s I indicated in my 7:07 pm email yesterday, we are moving

forward with the investigation of your complaint against Roe. I am meeting with [Roe]

this afternoon to discuss the complaint and will then send you more information about the

appointment of the investigator, which is the next step in the process.” Id. Six minutes

later, Olson sent a string of emails in response, which included in part:

              Just send [Roe] and myself the goddamned email indicating
              and documenting the start of the complaint. Why do you
              clowns keep ‘meeting with her’ whilst lecturing me about the
              ‘steps in the process?’ Begin the documented, serious,
              evidenced effort. Send the fucking letter.
                                          ***
              Do you people just schedule face-to-face meetings with [Roe]
              each time I send you complaints or evidence? START THE
              FUCKING INVESTIGATION. SEND THE LETTER. SEND
              THE EMAILS. YOU OFFERED TO A MONTH AGO. STOP
              OFFERING          [ROE]        OPPORTUNITIES             TO
              MEET/CONVENE WITH YOU WHEN I DO NOT HAVE
              THOSE OPPORTUNITIES. Hurry up.
                                            ***


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              You are abusing me and offering [Roe] opportunities that I do
              not have. Send out the fucking letter. I will continue emailing
              you until you do so.
                                            ***
              Send the fucking letter like you promised a month ago
                                           ***
              Send the fucking letter. Stop granting [Roe] these meetings
              wherein she is given unfiltered access to my complaints and
              send the fucking letter. Make known publicly the onset of this
              investigation. Hurry.
                                           ***
              Send the fucking letter. Hurry.

A0654–A0656. Farganis responded about an hour later, informing Olson that the notice

of his complaint had already been sent earlier that day, and that the purpose of the call with

Roe was to inform her of the complaint resolution process—i.e., the same call Farganis had

with Olson regarding Roe’s complaint. A0654.

       That same day (March 31), Farganis informed Olson that an investigator, Caitlin

Miles, had been assigned to his case. A0677. Miles was an attorney at Lathrop GPM and

part of the trainED division, as Duniway was. A0676. In his email, Farganis notified

Olson that he had until April 2 to raise any conflict-of-interest concerns. A0677. On April

3, Olson emailed concerns about Miles being employed by the same firm as Farganis and

Duniway. A0676–A0677. Farganis responded to Olson, noting that Olson had responded

after the deadline and explaining that Macalester has outsourced its Title IX investigations

to trainED for the last several years. A0676.

       On April 17, Olson emailed Miles and told her that Macalester sent “an incomplete

complaint/the wrong complaint” and “the letter of 3/30 that the college sent [Miles] only

contains a small fraction of that information.” A0772. Though Olson also told Miles that


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“[t]he college will be sending [her] a fuller list of complaints in the coming days,” id., no

record evidence shows that the College agreed to edit or add to Olson’s own complaint.

Miles continued to try to schedule an interview with Olson over the following weeks, but

Olson either failed to respond or claimed that he was too unwell to meet. A0762–A0773.

       On April 28, Farganis emailed Olson to update him on the adjudication of Roe’s

complaint. A0684. In response, Olson stated that Macalester “failed to act on the

complaints [he] brought to [the College] in November until the very end of March. It took

[Macalester] over 120 days to initiate a complaint against [Roe] after [he] brought serious

evidence to [the College].” A0684. He also alleged that Macalester was “using a public

health crisis to cover [its] ass.” Id. Farganis responded the same day:

              With regard to the timing of your complaint against [Roe]
              please bear in mind that we tried for several months to get your
              cooperation on establishing allegations sufficient to move
              forward with a complaint. Ultimately, despite not having the
              information that we requested, we moved forward with your
              complaint and agreed to supplement it as needed based on
              information that you might provide to the investigator. To that
              end, please provide Caitlin Miles with the information that she
              requested in her most recent email to you so that we can
              continue to move forward with the complaint resolution
              process expeditiously.

A0683. Olson disagreed with Farganis’s characterization. A0682. He claimed that he had

provided Farganis “with sufficient evidence of allegations starting [in] November” and that

Farganis, Wells, and DeMethra “had fucked up [their] basic duties.” Id. Additionally, he

claimed that the Title IX “office tends to support women and not men, and that [it] did not

find [his] complaints credible because of [his] mental illness.” Id.



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       On May 5, Miles told Olson that she planned to move forward with the witness

interviews that week. A0767. Olson responded that “[i]t is not appropriate to force the

investigation along (starting interviews this week…) without taking into account that I am

very very sick right now and that it is reasonable for documented disabilities to impact the

regular process.” Id. That same day, Farganis replied to Olson’s email and explained:

              Please know that we are very mindful of your ongoing illness,
              and that we are simply trying to move the investigation forward
              as expeditiously as possible without creating additional
              stressors for you.

A0766. On May 14, Olson reached out to Miles inquiring about the status of his complaint

since he had by then been expelled. Id. Miles told Olson that her Title IX investigation

into his complaint was ongoing and offered to speak with him via Zoom about related

substantive information. A0765. Olson told Miles he would reach out to her that night or

the next day about finding a time to meet, but he did not. A0764. Miles sent Olson a

follow-up email a week later, on May 21. On May 23, Olson replied to Miles, explaining

that he had been “very very sick” and “close to hospitalization.” A0763. He said that he

would update Miles in the following days on whether he is “able to have a coherent

conversation.” Id. Olson, again, did not reach out to Miles as he indicated. A0762. Miles

sent another follow-up email on May 29. Id. She explained that she was moving forward

with the second round of party interviews and asked for his availability, assuming he had

no other suggested witnesses. Id. Olson responded several days later, writing that he was

assembling a list of witnesses he would send to Miles that afternoon. Id. The record does

not establish that Olson provided this list. Between April and June, Miles conducted


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interviews of Olson, Roe, and eight other individuals suggested by the parties. A0822–

A0823.

       On June 15, Miles emailed Olson to let him know about the close of evidence date

and to again encourage him to meet with her before that deadline. A0790. She informed

him that she may not be able to meet with him after that date due to an extended leave of

absence. Id. Olson responded about two hours later that he was “very unwell,” “struggling

with suicidal ideation,” and “considering checking [himself] into a psych ward.” A0789–

A0790. He also stated that “[u]p until this point a lot of unfair demand has been placed on

[his] illness and symptoms even though reasonable extensions can be accommodated.”

A0789. Miles replied by reiterating her potential unavailability to interview him later, and

she “strongly encourage[d]” him to meet with her that day or the next day. Id. The next

day, June 16, Olson sent a lengthy email to Miles, copying Farganis and his attorneys. In

part, the email stated:

              I informed you that I was experiencing a crisis due to my
              disability, and requested a reasonable accommodation of an
              extension of a couple of days of the evidentiary period to
              recover. Instead of engaging with me or granting my request,
              you simply stated that I am encouraged to speak with you while
              I’m in crisis. Obviously, when I requested a reasonable
              accommodation I was speaking with you while in crisis. Upon
              hearing someone with a deadly disease is in crisis it is your role
              to respond by accommodating. Your response, however, is the
              equivalent of completely ignoring my request and essentially
              telling me to get over it for your convenience and the
              convenience of Macalester. I am especially puzzled by this
              reaction given how long and how frequently Macalester has
              delayed the process in the past without notifying me of the
              reasons for the delay, including ignoring my request that [Roe]
              be investigated back in November 2019. Macalester opted to


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             delay any investigation of my complaint until after [Roe] was
             allowed to graduate and after expelling me.

A0798. Miles responded:

             I am sorry to hear what you are experiencing and I hope that
             you are getting the help and support that you need. I
             understand that you are feeling frustrated with the process,
             please understand that my intention has been to ensure that you
             have an opportunity to participate in a follow-up interview with
             me. I also know that you have expressed repeated frustration
             with how long this process has taken and so I have been
             working to complete the investigation as expeditiously as
             possible. To that end, I set the close of evidence date for
             Wednesday, with the only outstanding item being your follow-
             up interview which I have been trying to schedule for some
             time. While I may normally have flexibility on the timing of
             interviews, I wanted to let you know that due to my upcoming
             leave, my availability beyond Wednesday is uncertain and
             outside of my control. Because my leave will be for a
             minimum of four months, waiting to interview you until after
             I return from my leave is not a viable option. In your email
             from last night, you left open the possibility that you may be
             able to participate in an interview before the close of evidence,
             which is why I suggested that, if possible, you try to schedule
             a time with me Tuesday or Wednesday.

A0797. Olson again asked for an extension of the evidentiary deadline. A0795–A0796.

On June 18, the next day, the College asked Olson to identify the length of additional time

he was requesting and for documentation from his medical provider to support his

extension request. A0795. Olson did not respond. On June 22, Macalester followed up

with Olson. A0794. The email summarized Olson’s communications with Miles up to that

point, provided an extended deadline for him to support his request, and to correct some

inaccuracies in Olson’s email:

             The College is not able to continue to delay the close of
             evidence indefinitely. By Wednesday (June 24) at 5:00 p.m.,

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              please provide us with a specific amount of time that you are
              requesting and supporting documentation from your medical
              provider so that we can consider your request for an
              accommodation. If we do not receive that information before
              that time, we will not be able to consider your request for an
              accommodation and the process will move forward.

              We also want to address two inaccuracies in your June 19 email
              to Ms. Miles, on which we were copied. First, your email states
              that Macalester did not begin its investigation into your
              allegations against [Roe] until ten weeks ago. This is not
              correct. The College began its investigation into your
              allegations against [Roe] several months ago. Ms. Miles began
              her investigation roughly ten weeks ago, only after you
              indicated that you were no longer reluctant to move forward
              with a formal complaint and we determined that there was a
              sufficient basis to do so.

Id.

       Olson responded on June 24.         He “demand[ed] 4 weeks’ extension of this

investigatory period” and accused Macalester of “arbitrarily continu[ing] to ignore [his]

serious illness.” A0792–A0793. Macalester granted the four-week extension the next day,

which moved the close of evidence date to July 15, 2020. A0792. The College also offered

to allow written responses with Miles instead of a typical in-person interview. Id. On July

10, five days before the new evidence deadline, Olson asked for written numbered

questions in lieu of an in-person interview, an extension of 10 additional days past the first

extended deadline, and access to his previously submitted evidence. A0816–A0817. The

College granted the written interview request, granted the extension, and offered to allow

him access to his initial interview with Miles. Id. Macalester offered a time for Olson to

listen to the interview audio. A0815. Olson replied three days later, July 20, and said the



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suggested time did not work for him because he was “not doing well and will not be up or

available during the day tomorrow.” Id. He did not suggest an alternative time. Id.

      On October 16, 2020, Miles submitted the confidential investigative report for

Olson’s Title IX complaint. A0820–A0870. Macalester shared the report with Olson that

same day and asked for his availability to review the file via Zoom. A0874–A0875. Olson

did not respond. Macalester sent a follow-up email on October 20, again asking for his

availability to review the file and reminding him of the deadline to submit a written

response, which was October 24. A0874; A0878. Olson replied later that day, asking for

a copy of the investigation report and all the evidence. A0873–A0874. He cited new

federal regulations as of August 2020 as the basis for this request. Id. Macalester then

explained that, in its view, Olson’s complaint was governed by the policy and regulations

in place at the time of his complaint, March 2, 2020, and under that policy, parties were

permitted to review the investigation file while supervised by a Title IX official. A0873.

Macalester extended the time to review and submit a written response to October 27 and

offered to accommodate Olson’s schedule, even if that required multiple viewing sessions.

Id. Olson and Macalester then set up a review session via Zoom for October 26. A0872–

A0873. Olson and his advisors reviewed the investigation report on October 26. A0878–

A0879.

      Owing to Olson’s statements that he would need more time to submit a written

response, Macalester again pushed back Olson’s response deadline, this time to

November 2. A0878. The College requested Olson’s availability to schedule additional

review sessions. Id. But Olson did not respond. Macalester sent a follow-up email on

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October 28 asking if Olson would like to arrange more review sessions. A0877–A0878.

It also reminded Olson that if his new attorney, Michael Allen, would like to serve as his

advisor, the College needed an unmodified and signed advisor agreement. A0877. Olson

responded, asking to set up a review session for the following day, October 29. A0877.

On November 2, Olson submitted a written response with exhibits. ECF No. 99-1; see

A0881. Because he attached exhibits, which was not allowed as part of the written

response, and exceeded the word limit, the College gave him until November 7 to edit his

written response in accordance with the College’s guidelines. A0881. He submitted his

amended written response on November 9. A0883.

      Under the College’s policies at that time, each party to a Title IX investigation was

allowed a two-day period during which they could review each other’s statements and

submit a rebuttal statement.    A0894.    Olson was informed of this opportunity on

November 9. Id. The College offered to arrange Zoom sessions during the rebuttal period

and again reminded Olson that any chosen advisor must properly execute the Macalester

advisor agreement without modification before the advisor may join any review session.

Id. Olson’s advisor apparently refused to sign the advisor agreement because he “refuse[d]

to waive any rights under Title IX, its regulations, or state and federal law.” A0893.

Macalester extended the rebuttal period to November 16. Id. Olson pushed back and

demanded that Macalester accommodate his request for copies of his file and to allow his

advisor to proceed without signing the agreement. A0892. On November 14, Olson asked

to schedule a review session for the following day with his advisor. A0891. The College

confirmed the review session but explained that an advisor would only be permitted to

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participate in the review session if an advisor agreement was properly executed. A0891.

Olson participated in the review session on November 15. A0897. Three minutes and

thirty seconds into the Zoom review session, Olson’s account was suspended because he

had turned off his camera. Id. The review process requires supervision by a Macalester

official; without his camera on, Olson could not be supervised. Id. Olson was then

instructed to exit all windows, to which he replied, “No thanks.” Id.

       Though Olson had only minutes to review Roe’s written response, his rebuttal

statement “quotes extensively” from her response, prompting the College to be concerned

that he took screenshots or photos that allowed him to view the response outside of the

supervised review session.     Id.   The College emailed Olson about this incident on

November 20 and allowed him to provide a response to this issue by November 21. Id.

Olson responded the same day. Id. He did not admit or deny the allegations but rather

pushed the College to send him copies of the investigative materials and accused it of

“restricting [him] and [his] advisor’s access to the investigation report and evidence” or

excluding Olson’s responses. Id. It is unknown whether any subsequent correspondence

regarding this incident occurred.

       On December 8, 2020, Curran sent a lengthy email to Olson informing him that

“[t]he College has determined that it will not continue the complaint resolution process for

[his] complaint dated March 4, 2020 against Roe.” A0900–A0902. She wrote, “this

decision was made based on the fact that neither of you are currently students at the College

and the College’s recent conclusion that you violated the rules of the supervised review of

investigation materials.” A0900. The email is reproduced here in full:

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A0900–A0902. The record contains no subsequent communication between Macalester

and Olson.

                                            E

                              Olson’s Claims In This Case

       Olson filed this case on July 8, 2021. See Compl. He asserted claims across five

counts in his Complaint: (1) a claim under Title IX of the Education Amendments of 1972,

20 U.S.C. § 1681, alleging that Macalester acted with deliberate indifference to Olson’s

credible allegations of harassment, stalking, and abuse by Roe, and that Macalester’s

investigation and punishment of Olson reflected gender bias; (2) claims under Title III of

the Americans with Disabilities Act of 1990, 42 U.S.C. § 12182, and Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. § 794, alleging that Macalester discriminated against

Olson on the basis of his disability; (3) a breach-of-contract claim under Minnesota law,

alleging that Macalester’s Student Handbook and Title IX policies were contracts and that

Macalester breached those contracts during its investigation of Roe and Olson’s

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complaints; (4) a claim for breach of the implied covenant of good faith and fair dealing

under Minnesota law derived from the breach-of-contract claim; and (5) a negligence claim

under Minnesota law, alleging that Macalester’s investigation breached its “duty to fairly

and equitably investigate claims of harassment and misconduct, without bias or

discrimination.” See Compl. ¶¶ 239–84.

                                              II

       Before Macalester’s summary-judgment motion can be resolved, the universe of

potentially relevant facts must be determined. Macalester moves to exclude the testimony

of two of Olson’s experts: Susan Brandon, as to her opinions regarding flaws in

Macalester’s investigations and thus whether these asserted flaws show that the

investigations were unworthy of credence; and Frank Dattilio, as to his opinions regarding

a variety of matters including Olson’s mental illness, Roe’s awareness of it, the flaws

associated with Macalester’s response to Olson’s mental illness and the impact

Macalester’s investigations had on Olson, and Olson’s employability. Dr. Brandon’s

testimony will be excluded. Dr. Dattilio’s would be admitted only to the extent it concerns

his diagnoses of Olson; it will be excluded in all other respects.

                                             A

       Rule 702 of the Federal Rules of Evidence governs the admissibility of expert

testimony. That rule provides:

              A witness who is qualified as an expert by knowledge, skill,
              experience, training, or education may testify in the form of an
              opinion or otherwise if:



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              (a) the expert’s scientific, technical, or other specialized
              knowledge will help the trier of fact to understand the evidence
              or to determine a fact in issue;

              (b) the testimony is based on sufficient facts or data;

              (c) the testimony is the product of reliable principles and
              methods; and

              (d) the expert has reliably applied the principles and methods
              to the facts of the case.

Fed. R. Evid. 702; see also Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993).

“District courts have wide latitude in determining whether an expert’s testimony is

reliable.” Olson v. Ford Motor Co., 481 F.3d 619, 626 (8th Cir. 2007). The Eighth Circuit

has identified a number of factors courts may consider in determining whether an expert’s

testimony is the product of “reliable principles and methods,” including:

              (1) whether the theory or technique can be (and has been)
              tested; (2) whether the theory or technique has been subjected
              to peer review and publication; (3) whether the theory or
              technique has a known or potential error rate and standards
              controlling the technique's operation; and (4) whether the
              theory or technique is generally accepted in the scientific
              community.

Smith v. Cangieter, 462 F.3d 920, 923 (8th Cir. 2006). “This evidentiary inquiry is meant

to be flexible and fact specific, and a court should use, adapt, or reject Daubert factors as

the particular case demands.” Unrein v. Timesavers, Inc., 394 F.3d 1008, 1011 (8th Cir.

2005). As long as the evidence indicates that the expert evidence is reliable and relevant,

“no single requirement for admissibility” governs. Id. “The proponent of the expert

testimony must prove its admissibility by a preponderance of the evidence.” Lauzon v.

Senco Prod., Inc., 270 F.3d 681, 686 (8th Cir. 2001). “As a general rule, the factual basis

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of an expert opinion goes to the credibility of the testimony, not the admissibility, and it is

up to the opposing party to examine the factual basis for the opinion in cross-examination.”

Bonner v. ISP Techs., Inc., 259 F.3d 924, 929 (8th Cir. 2001) (quotation omitted). But the

court must exclude an expert’s opinion if it “is so fundamentally unsupported that it can

offer no assistance to the jury.” Id. at 929–30 (quotation omitted). “Expert testimony is

inadmissible if it is speculative, unsupported by sufficient facts, or contrary to the facts of

the case.” Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 757 (8th Cir. 2006).

Furthermore, “under Daubert and Rule 403 of the Federal Rules of Evidence, the probative

value of the expert testimony must not be substantially outweighed by the danger of unfair

prejudice, confusion of issues, or misleading the jury.” United States v. Solorio-Tafolla,

324 F.3d 964, 966 (8th Cir. 2003).

                                              B

       Susan Brandon is the first of Olson’s experts whose testimony Macalester seeks to

exclude. She holds a Ph.D. and M.A. in psychology and cognitive neuroscience from the

University of Hawaii and a B.A. from City University of New York. ECF No. 89-2 at 3.

Dr. Brandon’s expertise focuses on interviewing and interrogation in intelligence, criminal,

and legal contexts. Id. at 2. She has “18 years’ experience providing instruction and

coaching on the use of science-based communication methods to local and federal law

enforcement and intelligence agencies and departments of the U.S. government.” Id. The

groups she has worked with include the New York and Los Angeles police departments,

the United Kingdom’s MI-5 and MI-6, the U.S. State Department, the Department of

Homeland Security, and the Secret Service, among others. Id.

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       Dr. Brandon offers four opinions in her report: (1) that interviewers were biased

against Olson based on his sex, ECF No. 89-1 at 3; (2) that the interviews “provided

evidence that showed [Olson] more credible [sic] than Jane Roe,” but the investigation

reports did not reflect this conclusion, id.; (3) that “interviewers did not use best practices

of interviewing techniques . . . and [were] ill-informed about the science of interviewing,”

id.; and (4) that Roe “adopted and offered a ‘victim narrative’ that has become familiar to

the public, the criminal justice system, and especially to college campuses,” and that

Macalester’s training materials and investigation unfairly accepted Roe’s narrative, id. Dr.

Brandon based these opinions “primarily on analyses of audio records of interviews with

[Olson] and Jane Roe,” though Dr. Brandon also reviewed documents. See id. at 4, 43–46.

       Dr. Brandon’s opinions will be excluded. The reasons for this decision vary

somewhat depending on the specific opinion Dr. Brandon would offer. Dr. Brandon’s

opinion that the individuals who investigated Roe and Olson’s complaints did not use “best

practices of interviewing techniques,” id. at 3, deserves exclusion because the opinion is

not reasonably tethered to the legal standards by which Olson’s claims must be judged. No

doubt Dr. Brandon has expertise in, as her resume describes it, “the science of

communication applicable to information collection (interviewing and interrogation) in

intelligence, criminal, and legal contexts (e.g., criminal interviews, corporate amnesty,

depositions, plea agreements, debriefing witnesses and victims),” or that she has “18 years’

experience providing instruction and coaching on the use of science-based communication

methods to local and federal law enforcement and intelligence agencies and departments

of the U.S. government.” ECF No. 89-2 at 2. The problem is that no legal authority holds

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or suggests that the (mostly law-enforcement related) interviewing best practices against

which Dr. Brandon assesses Macalester’s investigations apply in the context of Olson’s

claims. Olson cites no authority, for example, suggesting that a college might be held liable

under Title IX for failing to comply with the best practices Dr. Brandon identifies. From

Macalester’s perspective, the Title IX bar just isn’t that high. Under Title IX, an inference

of sex discrimination may be justified if an investigation “result[s] in findings so devoid of

substantive content as to be unworthy of credence” or is marked by “clear procedural

irregularities.” See Rossley v. Drake Univ., 979 F.3d 1184, 1193 (8th Cir. 2020) (quotation

omitted). Regardless, what probative value Dr. Brandon’s best-practices testimony might

hold in relation to the applicable legal standards is outweighed considerably by a risk that

a jury would be confused or misled into thinking that the best practices Dr. Brandon

describes set the bar, meaning the better answer is to exclude this opinion under Fed. R.

Evid. 403.

       Dr. Brandon’s opinions that that interviewers were biased against Olson based on

his sex and that the interviews “provided evidence that showed [Olson] more credible [sic]

than Jane Roe” deserve exclusion because they aren’t based on expertise. Dr. Brandon

identifies no reliable principles or methods she applied to reach these opinions. Dr.

Brandon’s opinion that interviewers displayed bias based on Olson’s sex seems to follow

from the flaws she identified with Macalester’s investigations and interviews, but Dr.

Brandon does not identify what method she applied to determine that these flaws proved

bias based on sex as opposed to a non-bias-related explanation. Similarly, Dr. Brandon

does not identify what principles or methods she applied to determine that Olson was “more

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credible” than Roe. These problems aside, it is unclear how Dr. Brandon’s testimony

regarding these opinions would help a jury “to understand the evidence or to determine a

fact in issue.” Fed. R. Evid. 702(a). Lay juries routinely assess questions like the presence

or absence of bias or the credibility of witnesses without expert testimony. The better

answer is that a jury would not benefit from Dr. Brandon’s testimony or expert knowledge

to understand or resolve these questions here.

       Dr. Brandon’s opinions that Roe “adopted and offered a ‘victim narrative’ that has

become familiar to the public, the criminal justice system, and especially to college

campuses,” and that Macalester’s training materials and investigation unfairly accepted

Roe’s narrative, ECF No. 89-1 at 2, warrant exclusion because Olson does not identify

what scientific, technical, or other specialized knowledge Dr. Brandon possesses that might

enable her to opine regarding these matters. Dr. Brandon’s resume makes clear that she is

an expert in the areas of “interviewing and interrogation[] in intelligence, criminal, and

legal contexts” and teaching interviewing and interrogation best practices to “law

enforcement and intelligence agencies and departments of the U.S. government.” ECF No.

89-2 at 2. Dr. Brandon’s resume discloses no education, training, or experience in the area

of identifying a “victim narrative,” assessing the prevalence of that narrative on a college

campus, or determining whether an educational institution’s policies are premised on

accepting that narrative. Dr. Brandon’s deposition testimony confirmed that her “victim

narrative” opinion is not derived from her particular expertise, but rather was “based on

[her] reading literature studies about victim narratives and studies on college campuses”

and being “exposed to analyses in the media about these issues.” ECF No. 89-3 at 60; see

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Robinson v. GEICO Gen. Ins. Co., 447 F.3d 1096, 1101 (8th Cir. 2006) (“Rule 702 does

require that the area of the witness’s competence matches the subject matter of the

witness’s testimony.”) (quotations omitted). The bottom line, then, is that Dr. Brandon’s

testimony will be excluded in its entirety.

                                              C

       Macalester also seeks to exclude Olson’s psychologist expert, Frank Dattilio, Ph.D.

Dr. Dattilio is a licensed clinical and forensic psychologist. See ECF No. 89-5. He holds

a B.A. in psychology from Allentown College (now DeSales University), a M.Ed. in

counseling education from Kutztown State College (now Kutztown University), and a

Ph.D. in clinical psychology from Temple University. Id. at 1. Dr. Dattilio completed two

post-doctoral fellowships at the University of Pennsylvania School of Medicine, one in

cognitive therapy and the other in advanced forensic psychiatry. Id. Dr. Dattilio’s resume

is extensive—it runs 46 pages—and identifies his research and publications, clinical and

teaching experience, board positions, volunteer work, interviews, films, podcasts, and

more. See id.

       Dr. Dattilio offers five opinions in his report: (1) Mental illness caused Olson to be

disabled throughout the time he was in a relationship with Roe, and Roe was aware of

Olson’s disability. (2) Macalester was grossly insensitive to Olson’s mental illness.

(3) Macalester’s Title IX investigation process “[c]ompletely [d]estabilized” Olson for a

time. (4) Roe’s treatment of Olson was just as abusive as Olson’s treatment of Roe, but

Macalester did not emphasize the fact in its reports. (5) Olson would be employable—and



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not totally disabled—but for Macalester’s decision to expel him. See ECF No. 89-4 at 2–

4.

       There is an overarching, exclusion-worthy problem with almost all of Dr. Dattilio’s

opinions: Dr. Dattilio provides no meaningful analysis or explanation to support them. Dr.

Dattilio’s report is 41 pages long. The first three pages and a portion of the fourth page

include an executive summary of Dr. Dattilio’s five opinions. See id. at 2–5. The report’s

remaining pages are merely historical. They describe Olson’s background and mental-

health history as told by Olson to Dr. Dattilio, summarize Olson’s health care and Social

Security disability records reviewed by Dr. Dattilio, recount Olson’s version of Olson and

Roe’s relationship and various incidents that occurred during the relationship, summarize

Macalester’s investigations and findings, and summarize Dr. Dattilio’s findings and

conclusions regarding Olson’s mental health based on his examination of Olson. See id. at

7–38. Except to the extent Dr. Dattilio opines regarding his mental-health diagnosis or

diagnoses of Olson, the report nowhere describes a connection between these historical

facts and Dr. Dattilio’s opinions. And none is apparent. To phrase the problem in Rule

702’s terms, the report identifies no “reliable principles and methods” that Dr. Dattilio

might have applied to the facts to reach his other opinions. Fed. R. Evid. 702(c), (d). For

example, Dr. Dattilio nowhere explains how he determined—from his scientific

perspective—that Roe was just as abusive toward Olson, that Macalester did not

sufficiently emphasize this fact in its reports, or that Olson’s mental-health condition would

not be disabling but for the fact that he did not graduate from Macalester.



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        There are other exclusion-worthy problems with Dr. Dattilio’s opinions. It is not

clear, for example, how Roe’s awareness of Olson’s mental illness is relevant to Olson’s

claims, meaning it is not clear how Dr. Dattilio’s opinion concerning Roe’s knowledge

would help the jury “to determine a fact in issue.” Fed. R. Evid. 702(a). Regardless, Roe’s

knowledge should not be the subject of expert testimony. Juries routinely assess whether

witnesses possessed knowledge of facts and the extent of that knowledge without an

expert’s assistance, and there is no reason to think an expert might be helpful on this issue

here.   Dr. Dattilio identifies no background, education, or experience in Title IX

investigations (or investigations generally), meaning he would not be permitted to testify

regarding alleged flaws with Macalester’s investigation. And Dr. Dattilio identifies no

background, education, or experience in vocational counseling or a similar field. Thus,

while he would be allowed to testify regarding Olson’s health, he would not be allowed to

testify regarding potential occupations Olson might have been capable of performing.

        Olson argues that Dr. Dattilio’s report reflects a proper methodology and that, in

any event, any shortcomings in this regard reflect gaps in the factual basis underlying Dr.

Dattilio’s opinions, a problem Olson says should be addressed through cross-examination

of Dr. Dattilio, not wholesale exclusion. These arguments are not convincing. To defend

Dr. Dattilio’s methods, Olson points out only that Dr. Dattilio administered a battery of six

inventory- or checklist-type tests during his examination of Olson. ECF No. 100 at 21–22.

The fact that Dr. Dattilio administered these tests, or the tests’ results, might support Dr.

Dattilio’s opinion that Olson suffered (and continues to suffer) from mental illness, but the

fact that Dr. Dattilio administered those tests says nothing analytically to support his other

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opinions. Olson is correct that gaps in an expert opinion’s factual basis generally go to the

expert’s credibility, not admissibility, and that such gaps should be the subject of cross-

examination at trial. See Masters v. City of Independence, Mo., 998 F.3d 827, 841 (8th Cir.

2021). But the gaps here are not factual. They are analytical. For Rule 702’s purposes,

the gaps are significant because they show the absence of “reliable principles and

methods.” Fed. R. Evid. 702(c). To put it another way, it is not possible here to apply the

four factors relevant to the reliability inquiry because each of those factors assumes the

presence of a “theory or technique.” See Smith, 462 F.3d at 923. Again, except for his

diagnosis of Olson, Dr. Dattilio identifies no theory or technique underlying his other

opinions. Except to the extent it concerns his diagnosis of Olson, Dr. Dattilio’s testimony

will be excluded.

                                             III

       Summary judgment is warranted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). A fact is “material” only if its resolution might affect the outcome

of the suit under the governing substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 248 (1986). A dispute over a fact is “genuine” only if “the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Id. “The evidence of the

non-movant is to be believed, and all justifiable inferences are to be drawn in [its] favor.”

Id. at 255 (citation omitted). A “smoking gun” is not required for the non-movant to defeat

a summary judgment motion. Teleconnect Co. v. Ensrud, 55 F.3d 357, 360 (8th Cir. 1995).

But the non-movant must show “more than mere speculation, conjecture, or fantasy.” Clay

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v. Credit Bureau Enters., Inc., 754 F.3d 535, 539 (8th Cir. 2014) (citation and quotations

omitted); Zayed v. Associated Bank, N.A., 913 F.3d 709, 716 (8th Cir. 2019).

                                             A

       Title IX prohibits sex discrimination by recipients of federal education funding. It

provides, in relevant part: “No person in the United States shall, on the basis of sex, be

excluded from participation in, be denied the benefits of, or be subjected to discrimination

under any education program or activity receiving Federal financial assistance . . . .”

20 U.S.C. § 1681(a). An individual claiming injury due to an educational institution’s

unlawful sex discrimination has an implied private right of action through Title IX. Cobb

v. U.S. Dep’t of Educ. Off. for C.R., 487 F. Supp. 2d 1049, 1053 (D. Minn. 2007) (citing

Cannon v. Univ. of Chicago, 441 U.S. 677, 717 (1979)). “Federal courts are not a forum

for general appellate review of university disciplinary proceedings. But Title IX places a

specific limitation on the authority of educational institutions that receive federal funds.”

Doe v. Univ. of Ark.-Fayetteville, 974 F.3d 858, 864 (8th Cir. 2020).3



3
        Macalester argues “that college personnel are ‘entitled to a presumption of honesty
and integrity’ and that courts ‘should refrain from second-guessing the disciplinary
decisions made by school administrators.’” ECF No. 79 at 21. In advancing this position,
Macalester quotes Richmond v. Fowlkes, 228 F.3d 854, 858 (8th Cir. 2000), and cites Doe
v. Dardanelle Sch. Dist., 928 F.3d 722, 725 (8th Cir. 2019). To be clear, I do not
understand that Macalester is entitled to these presumptions. The Eighth Circuit has not
applied such a presumption to a Title IX case claiming sex discrimination in discipline, and
the cases Macalester cites do not support its argument. Richmond involved only
constitutional claims, and there, the court invoked the presumption in response to a claim
that a decision-maker was personally hostile to the plaintiff. 228 F.3d at 858. Dardanelle
School District also is distinguishable. There, the court applied Title IX’s deliberate-
indifference standard to a claim that the district’s response to a student’s sexual-assault
complaint was deficient. 928 F.3d at 724–25. That standard is not applicable here.
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       In a series of recent decisions reviewing district court orders dismissing Title IX

sex-discrimination claims under Rule 12(b)(6), the Eighth Circuit has made clear that, to

plead a Title IX sex-discrimination claim, a plaintiff must allege facts plausibly showing

that the recipient of federal educational funding disciplined him “on the basis of sex—that

is, because he is a male.” Univ. of Ark.-Fayetteville, 974 F.3d at 864 (citing Doe v. Purdue

Univ., 928 F.3d 652, 667–68 (7th Cir. 2019)); Rowles v. Curators of the Univ. of Mo., 983

F.3d 345, 359 (8th Cir. 2020); Does 1–2 v. Regents of the Univ. of Minn., 999 F.3d 571,

577 (8th Cir. 2021). “To survive summary judgment, then, [Olson is] required to set forth

sufficient evidence to allow a reasonable jury to find that [Macalester] disciplined him on

the basis of sex.” Rossley, 979 F.3d at 1192.

       Cases demonstrate several approaches a Title IX sex-discrimination plaintiff may

take to show that sex was “‘a motivating factor in the decision to discipline.’” Rowles, 983

F.3d at 359 (quoting Doe v. Columbia Univ., 831 F.3d 46, 53 (2d Cir. 2016)). A plaintiff

may show, for example, that a federal-funding recipient: (1) disciplined similarly situated

men and women differently, see, e.g., Doe v. Dordt Univ., 616 F. Supp. 3d 872, 899 (N.D.

Iowa 2022); Moe v. Grinnell Coll., 556 F. Supp. 3d 916, 929–30 (S.D. Iowa 2021); (2) held

“[b]iases based on stereotypes about women’s and men’s sexual behavior,” Dordt Univ.,

616 F. Supp. 3d at 899; Doe v. Grinnell Coll., 473 F. Supp. 3d 909, 927 (S.D. Iowa 2019);

(3) countenanced an investigation blighted by “‘clear procedural irregularities’” or that

“result[ed] in findings so devoid of substantive content as to be unworthy of credence,”

Rossley, 979 F.3d at 1193 (quoting Menaker v. Hofstra Univ., 935 F.3d 20, 35 (2d Cir.

2019)); and (4) reached a decision affected by “external pressures from the campus

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community and the federal government over a perceived lack of diligence in investigating

and expelling students accused of sexual assault,” Regents of the Univ. of Minn., 999 F.3d

at 578; see Univ. of Ark.-Fayetteville, 974 F.3d at 865 (“External pressure on a university

to demonstrate that it acted vigorously in response to complaints by female students may

support an inference that a university is biased based on sex, although not necessarily in a

particular case.”). Here, Olson seems to advance two theories to show that Macalester

disciplined him on the basis of his sex, but neither theory has trial-worthy evidentiary

support.

       (1) Olson first advances a selective-enforcement theory. Under this theory, a male

plaintiff must show “he received disparate punishment as compared to a similarly-situated

comparator and that such punishment was motivated by his sex.” Rowles, 983 F.3d at 360

(cleaned up); see Dordt Univ., 616 F. Supp. 3d at 899 (recognizing that, to prevail on this

theory, a male plaintiff must show that “(1) a female . . . was in circumstances sufficiently

similar to [the male accuser’s] own, and (2) that the defendant treated this female more

favorably”). Olson argues: “Macalester selectively enforced its Title IX policy by letting

the female student, Jane Roe, get away with the abuse of Olson (and others on campus),

while exclusively punishing Olson, the male student, for substantially the same behavior.”

ECF No. 95 at 2. Roe, in other words, is Olson’s comparator. For Roe to be a comparator,

Olson must show that she was “similarly situated to him in all relevant respects.” Rowles,

983 F.3d at 355.

       No reasonable juror could find that Olson and Roe were similarly situated in all

relevant respects. To show that he and Roe are comparators, Olson focuses on record

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evidence showing that the two were in a relationship and were equally “committed to

consensual rough sex.” ECF No. 95 at 4. Olson also asserts through a table in his

opposition brief—though largely without record citations—that he and Roe both suffered

from mental illness, were verbally abusive and physically violent to each other, stalked

each other, damaged each other’s property, and sexually assaulted each other. Id. at 7.4

       Accepting these contentions, the record nonetheless shows beyond dispute that there

were significant differences between Olson’s and Roe’s participation in the complaint

process. As far as the record and parties’ briefing shows, Roe was an active and responsive

participant in Macalester’s investigation of her complaint against Olson. The same cannot

reasonably be said of Olson with respect to his complaint against Roe. Beginning in

November 2019, Macalester officials explained the complaint process to Olson on many

occasions. E.g., A0468; A0483; A0486; A0506–A0507; A0501–A0502; A0516; A0513–

A0514; A0531–A0535.         But the record shows that Olson was neither diligent nor

cooperative in pursuing his complaint. Olson frequently did not respond to Macalester

officials’ meeting requests to discuss and arrange for the preparation of his complaint. E.g.,

A0468; A0486; A0506–A0507; A0503; A0539–A0540.                   Olson canceled scheduled

meetings. E.g., A0469; A0502. Macalester repeatedly described what information Olson

would need to submit to initiate his complaint, see, e.g., A0534, but Olson did not provide


4
       One might reasonably reject Olson’s table for its lack of citations. Fed. R. Civ. P.
56(c)(1)(A). As one example, Olson claims in the table that he and Roe both suffered from
disabilities caused by mental illness. As support for his assertion that Roe suffered from
mental illness, Olson asserts only: “Roe claimed various self-diagnosed mental maladies,
never confirmed, but accommodated and taken as true by Macalester.” ECF No. 95 at 7.
Olson cites no record evidence to support this assertion.
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it. On one occasion, for example, Farganis emailed a series of questions to Olson,

describing the questions as “the same kind of questions we asked [Roe] before moving

forward with her formal complaint.” A0531–A0535. As far as the record shows, Olson

did not respond to these questions. Though Olson understood that Farganis was supportive

of Olson’s interest in pursuing a complaint against Roe, see A0542 (“Dion has continued

to push/support me to file a Title IX against [Roe].”), Olson at times expressed uncertainty

about whether to proceed with a complaint, A0542. Many of these issues continued after

Olson had his complaint-intake meeting in March 2020. Bradley sent a draft complaint to

Olson on March 19, asking him to review and approve it or request revisions. A0627; ECF

No. 98-1 at 76–78. Olson responded on March 30, describing the complaint as “woefully

brief,” indicating he would “update” it after the investigation began, and demanding that

Macalester “send the f*cking letter . . . NOW.” A0633–A0634. The record does not show

that Olson ever updated the document. At Olson’s request, deadlines were extended. E.g.,

A0797; A0792–A0793; A0878.           And Olson did not demonstrate compliance with

Macalester’s procedures governing his review of Roe’s written response. A0893; A0897.

Again, there is no suggestion that Roe engaged in any comparable behaviors in

Macalester’s investigation of her complaint against Olson.

       These differences between Olson and Roe’s participation in the complaint process

are material. Olson’s conduct unquestionably delayed the commencement and progress of

the investigation into his complaint. And Olson’s conduct just as indisputably factored

into Macalester’s ultimate decision to drop its investigation of the complaint.            As

Macalester explained in its final email, its decision “was made based on the fact that neither

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[Olson nor Roe] are currently students at the College and on the College’s . . . conclusion

that [Olson] violated the rules of the supervised review of investigation materials.” A0900.

As noted, Olson focuses on the similarities between his and Roe’s abusive treatment of

each other. He does not address the different approaches he and Roe pursued as part of

Macalester’s investigation of their respective complaints. It is beyond dispute that Olson’s

lack of diligence and cooperation factored significantly in Macalester’s decision not to

continue with Olson’s complaint-resolution process. Given these differences, a reasonable

jury could not find that Olson and Roe were similarly situated in all relevant respects.

       Olson advances several arguments to show that he and Roe are comparators—or,

more precisely, to show that a reasonable jury could find they are—but none of these

arguments is convincing. Olson blames Farganis for Macalester’s delay in beginning an

investigation of his complaint against Roe, asserting that “Farganis dragged out Olson’s

formal complaint almost 4 months before Macalester launched any investigation of Roe.”

ECF No. 95 at 15–16. Olson cites no record evidence to support this assertion. See id.

Olson does not address the extensive record evidence showing that he was responsible for

delays or, more to the point, that his investigation conduct was materially different from

Roe’s. Olson argues that two Third Circuit cases—Doe v. Princeton Univ., 30 F.4th 335

(3d Cir. 2022) and Doe v. Univ. of the Scis., 961 F.3d 203 (3d Cir. 2020)—support the

conclusion that he and Roe are comparators. The cases are distinguishable procedurally

and factually. Procedurally, both cases reverse district court orders dismissing Title IX

sex-discrimination complaints under Rule 12(b)(6). Princeton Univ., 30 F.4th at 339–40;

Univ. of the Scis., 961 F.3d at 205. Here, by contrast, the issues are presented via a

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summary-judgment motion with an extensive record. Factually, neither case involves

differences between the plaintiff and the comparator’s complaint-process participation that

we have here. Olson argues that “requirements for comparators in a selective enforcement

case should be liberally construed.” ECF No. 95 at 35. Olson cites no case adopting or

applying this rule of liberal construction. Olson cites only a Second Circuit case, Radwan

v. Manuel, 55 F.4th 101 (2d Cir. 2022), for the proposition that: “‘Ordinarily, the question

whether two employees are similarly situated is a question of fact for the jury.’” Id. at 132

(quoting Mandell v. County of Suffolk, 316 F.3d 368, 379 (2d Cir. 2003)). True enough.

But the question’s factual nature does not preclude a court from entering judgment as a

matter of law when the record evidence does not reasonably support the finding. See Unity

Healthcare, Inc. v. Cnty. of Hennepin, No. 14-cv-114 (JNE/JJK), 2015 WL 2097668, at *3

(D. Minn. May 5, 2015) (citing cases). That is what we have here.

       (2) Olson’s second theory is that Macalester’s investigation “was a garbage-

in/garbage-out process” that produced “a distinctly warped outcome that is, in parts,

completely lacking in substantial evidence.” ECF No. 95 at 26. Olson identifies many

flaws in Macalester’s investigation that he says would permit a reasonable jury to find that

Macalester discriminated against Olson on the basis of his sex.

       Begin by positioning Olson’s arguments against controlling legal rules. To get past

summary judgment, Olson must show the presence of “‘clear procedural irregularities’” or

other shortcomings that “result[ed] in findings so devoid of substantive content as to be

unworthy of credence.” Rossley, 979 F.3d at 1193 (quoting Menaker, 935 F.3d at 35). It

is not enough, in other words, for Olson to identify mere imperfections or flaws in

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Macalester’s investigation. Olson must show the presence of obvious problems with the

investigation and then show how those problems render the investigation and Macalester’s

decisions unsupported. Only then could a jury reasonably find that the investigation itself

shows sex discrimination.

       Olson asserts that Macalester “consistently failed to investigate” the fact that he and

Roe were “committed to consensual rough sex.” ECF No. 95 at 4. He says that Roe

“repeatedly asked him to hit her” and that Macalester’s failure to investigate these facts

deprived him of a “consent” defense. Id. Olson is correct that the initial Investigative

Report, A0560–A0607, the Notice of Outcome, A0687–A0722, and the Appeal Decision,

A0801–A0813, concerning Roe’s complaint do not directly address what is in substance a

consent defense. This argument is nonetheless unpersuasive because, as each of these

documents indisputably shows, Olson was interviewed on multiple occasions and had

opportunities to respond to Roe’s complaint and allegations. In these interviews, Olson

routinely denied Roe’s allegations that he was physically abusive. E.g., A0573 (“[A]fter

hearing [Roe’s] account regarding the incident where he hit her with a blanket on their bed,

Ian stated, ‘No, I have no memory of that.’”); id. (“After hearing [Roe’s] account that he

threw her out of the car when she didn’t wear her seatbelt, Ian stated, ‘I didn’t throw her

out of the car, but I asked her to get out.’”); A0574 (“After hearing [Roe’s] account that he

grabbed her wrists and caused bruising on multiple occasions, Ian stated, ‘There were no

bruises on her wrists. That added detail or insinuation is absolutely false.’”). Olson’s

denials aside, Macalester’s investigation process gave Olson ample opportunities to raise



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a consent defense, and Olson does not suggest that these documents misrepresent either the

extent of Macalester’s questions or the content of his responses.

       Olson next argues generally that “Macalester favored Roe’s initial report . . . but did

nothing to encourage Olson’s complaint.” ECF 95 at 12. The record belies this assertion.

As discussed above, Macalester officials repeatedly explained the complaint process to

Olson, reached out to Olson on those occasions he was non-responsive, repeatedly

attempted to schedule an intake meeting to begin Olson’s complaint and investigation

process, and extended Olson’s deadlines. Olson himself understood that Farganis was

supportive of Olson’s interest in pursuing a complaint against Roe. See A0542 (“Dion has

continued to push/support me to file a Title IX against [Roe].”). No reasonable juror could

find that Macalester tilted its investigation in Roe’s favor.

       Olson argues that Macalester should have interviewed Roe’s former boyfriend, B.L.

ECF No. 95 at 19. According to Olson, B.L. would have confirmed that Roe had engaged

in a “pattern of abuse” against “mentally ill” boyfriends. Id. at 19–22. As part of her

investigation, Duniway asked both Roe and Olson to identify others who might possess

information regarding Roe’s allegations. A0564. Roe responded with the names of

fourteen individuals. Id. Olson responded with seven names. Id. Duniway ultimately

interviewed six of the individuals Roe identified and three of the individuals Olson

identified. Id. In her report, Duniway explained that she chose not to interview witnesses

who “did not have first-hand information about the allegations and information they could

provide would be duplicative of information provided by the parties and other

witnesses.” Id. As for B.L., Duniway explained that she “determined that the information

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Ian stated this individual would provide would not be relevant to [Roe’s] allegations”

against Olson. Id. In his deposition, B.L. confirmed that he had no personal, “firsthand”

knowledge concerning Olson and Roe’s relationship. A0316–A0317. B.L. testified that

he did not reach out to Macalester to provide information about his relationship with Roe

because “[he] didn’t think that it would be of particular relevance to provide hearsay,

essentially,” and he did not think his information “would advance either side of the

situation.” A0317. In view of this testimony, Duniway’s decision not to interview B.L.

was consistent with the “firsthand knowledge” dividing line she drew for Roe and Olson’s

identified witnesses. Olson does not seem to dispute that line’s reasonableness.

       Olson relies on Dr. Brandon’s proffered testimony to argue “that Macalester’s

interviewers consistently solicited descriptions by Roe of ‘harms’ she allegedly suffered,

but interviewers did not similarly solicit the harm experienced by Olson.” ECF No. 95 at

25. As discussed above, however, Dr. Brandon’s opinion testimony will be excluded.

       Olson implies that Macalester’s decision to employ attorneys associated with the

Lathrop GPM firm was problematic. See id. at 13 (“No sooner had Macalester processed

Roe’s formal complaint the Title IX Coordinator Farganis, a second-year associate at the

firm GPM, hired the former managing partner of his law firm, Sarah Duniway, to

investigate Olson.”); id. at 27 (“Macalester Turns to Mega Lawfirm [sic] GPM, which

Appointed Exclusively Its Own Attorneys to ‘Investigate,’ Over Whom Title IX Coordinator

Farganis Had No Authority”). But Olson advances no discernable argument that Lathrop

GPM’s involvement in Macalester’s investigations amounted to “clear procedural

irregularities” or “result[ed] in findings so devoid of substantive content as to be unworthy

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of credence.” Rossley, 979 F.3d at 1193. He does not explain why Lathrop GPM’s

involvement creates a triable issue. The flaws Olson claims to identify in Macalester’s

investigations do not justify submitting his Title IX sex-discrimination claim to a jury.

                                              B

       Olson asserts claims under Title III of the Americans with Disabilities Act (“ADA”),

42 U.S.C. § 12182, and section 504 of the Rehabilitation Act (“Section 504”), 29 U.S.C.

§ 794. Compl. ¶¶ 254–64. These claims are properly assessed together because “the

substantive standards of § 504 . . . and the ADA are the same.” Loye v. Cnty. of Dakota,

625 F.3d 494, 496 (8th Cir. 2010). To prevail on either claim, Olson must show that (1) he

is disabled; (2) he made specific requests for (3) reasonable accommodations related to a

(4) known disability; and (5) the denial of his requests (6) deprived him of meaningful

access to education. See Mershon v. St. Louis Univ., 442 F.3d 1069, 1076 (8th Cir. 2006).

“[T]he plaintiff ‘bears the initial burden of demonstrating that he requested reasonable

accommodations[,]’” and “the plaintiff must ‘explain how each requested accommodation

was necessary to enable him to participate in light of his disabilities.’” Rossley, 979 F.3d

at 1197 (quoting Mershon, 442 F.3d at 1077).

       Olson’s ADA and Section 504 claims are specific. Olson asserts that “Macalester

denied [him] the reasonable request to accommodate his disability to access his disciplinary

file as an electronic copy and to have his advisor [i.e., his attorney] allowed to access these

documents without waiving his rights under Title IX.” ECF No. 95 at 29. Olson later

clarifies that the specific subject of this request was an electronic copy of Roe’s response

to his complaint. Id. at 39. To recap, Olson made this request by email on November 11,

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2020. A0892. Macalester arranged for Olson to review Roe’s response four days later, on

November 15, via Zoom. A0891. Olson attended the scheduled Zoom session and was

able to review Roe’s response for a time. A0897. Macalester suspended Olson’s review

because Olson turned off his camera during the session, thus preventing Macalester from

supervising the review in line with the College’s policy. Id.; see A0392.

      This claim is not viable. (1) There is no genuine dispute that Macalester provided

Olson with electronic access to Roe’s response. Olson had the opportunity to review her

response by Zoom. Olson does not explain how this electronic form of access did not

meaningfully satisfy his request for an electronic copy.5 Olson does not explain why his

disability could be accommodated only by giving him an electronic copy of Roe’s response

that he could review without Macalester’s supervision. (2) Olson tethers the request that

his attorney be permitted to review Roe’s response without signing an advisor agreement—

not to his disability—but to a federal regulation promulgated by the Department of

Education. See ECF No. 95 at 29 (citing 34 C.F.R. § 106.45(b)(5)(vii)). Whatever the

merits might be regarding whether this regulation governed Macalester’s handling of

Olson’s complaint, Olson’s reliance on the regulation says nothing about how or why

compliance with it was necessary to accommodate his disability.6 To put it differently,


5
       Nor does Olson deny that Macalester’s termination of his remote review of Roe’s
response occurred because he turned off the camera on his computer or other electronic
device.
6
       According to the Department of Education, the regulation Olson cites became
effective August 14, 2020, and is not retroactive. See Nondiscrimination on the Basis of
Sex in Education Programs or Activities Receiving Federal Financial Assistance, 85 Fed.
Reg. 30026, 30061 (May 19, 2020) (to be codified at 34 C.F.R. pt. 106). In a publicly
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Olson’s reliance on the regulation does not connect his attorney-review request to his

disability. (3) Olson does not explain how the denial of his request for an electronic copy

of Roe’s response impaired or affected his ability to reply or engage in further proceedings

regarding his complaint, and the record indisputably shows otherwise. Olson’s rebuttal

submission quoted extensively from Roe’s response, establishing that Olson was able to

review, comprehend, and dispute the response. See A0897. Olson neither explains nor

identifies how his participation in the process or his response might have improved had

Macalester provided him with a copy of Roe’s response.

                                             C

       In his Complaint, Olson asserted three claims under Minnesota law: a breach-of-

contract claim, alleging that Macalester’s Student Handbook and Title IX policies were

contracts and that Macalester breached those contracts during its investigation of Roe and


available question-and-answer document, the Department of Education, Office of Civil
Rights explains “the appropriate standard for evaluating alleged sexual harassment that
occurred before the 2020 amendments took effect” as follows:

              The 2020 amendments took effect on August 14, 2020, and are
              not retroactive. This means that a school must follow the
              requirements of the Title IX statute and the regulations that
              were in place at the time of the alleged incident; the 2020
              amendments do not apply to alleged sexual harassment
              occurring before August 14, 2020. This is true even if the
              school’s response was on or after this date. In other words, if
              the conduct at issue in the complaint took place prior to August
              14, 2020, the 2020 amendments do not apply even if the
              complaint was filed with a school on or after August 14, 2020.

Off. of Civ. Rts., U.S. Dep’t of Educ., Questions and Answers on the Title IX Regulations
on Sexual Harassment 10 (updated June 28, 2022), https://www2.ed.gov/about/offices/list/
ocr/docs/202107-qa-titleix.pdf (last visited July 5, 2023).
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Olson’s complaints; a claim for breach of the implied covenant of good faith and fair

dealing derived from the breach-of-contract claim; and a negligence claim, alleging that

Macalester’s investigation breached its “duty to fairly and equitably investigate claims of

harassment and misconduct, without bias or discrimination.” Compl. ¶¶ 265–84.

       Olson has abandoned his claims for breach of contract and breach of the implied

covenant of good faith and fair dealing. Though Macalester sought summary judgment on

these claims, see ECF No. 79 at 35–37, Olson did not defend or address these claims in his

response, see generally ECF No. 95. “It was [Olson’s] responsibility to show that there

were genuine issues of material fact in the record that precluded the summary judgment

[Macalester] sought.” Satcher v. Univ. of Ark. at Pine Bluff Bd. of Trs., 558 F.3d 731, 734

(8th Cir. 2009). Olson’s silence means these claims are waived. Id. at 735 (“[F]ailure to

oppose a basis for summary judgment constitutes waiver of that argument.”).

       That leaves just Olson’s common-law negligence claim. To show that this claim is

trial-worthy, Olson must identify evidence from which a reasonable jury could find that

Macalester’s decision to expel him was arbitrary, capricious, or in bad-faith. Doe v. Univ.

of St. Thomas, 972 F.3d 1014, 1018 (8th Cir. 2020). “The Minnesota Supreme Court has

long held that an ‘action is arbitrary, oppressive, and unreasonable so that it represents [the

agency’s] will and not [its] judgment.’” Id. (quoting Webster v. Marshall, 133 N.W.2d

533, 535 (Minn. 1965)). A disciplinary decision is arbitrary and capricious if, for example,

it is tainted by “actual bias, such as personal animosity, illegal prejudice, or a personal or

financial stake in the outcome.” Id. at 1019 (quoting Richmond v. Fowlkes, 228 F.3d 854,

858 (8th Cir. 2000)). “A university’s decision may be arbitrary if the university violates

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its own procedures.” Id. (quoting Tatro v. Univ. of Minn., 800 N.W.2d 811, 816 (Minn.

Ct. App. 2011), aff’d on other grounds, 816 N.W.2d 509 (Minn. 2012)). A decision is not

arbitrary just because “the [educational institution], presented with opposing points of

view, reaches a reasoned decision that rejects one point of view.” Vanegas v. Carleton

Coll., 575 F. Supp. 3d 1112, 1122 (D. Minn. 2021).

       Olson defends his negligence claim on essentially the same grounds he defended his

federal claims. This is the totality of Olson’s argument:

              Here, there is sufficient evidence that Macalester acted
              arbitrarily through a process infected by bias against Olson.
              Macalester’s interviewers skewed their investigation against
              the male student, and the school first stonewalled Olson’s
              complaint (while coddling Roe at every step), then finally
              cancelled it after denying Olson the reasonable
              accommodation of receiving an electronic copy of his
              disciplinary file. He was denied an opportunity to be heard
              when his complaint against Roe was cancelled

              In particular, the denial of his request for reasonable
              accommodation could serve no other purpose than simply
              depriving Olson access to evidence—a hall mark [sic] of due
              process that Abbariao imposes on college disciplinary
              decisions. Macalester canceled Olson’s complaint rather than
              allow him an electronic copy of his file, even though its then
              effective Title IX policy, in conformity with 34 C.F.R. 106.1,
              et seq., required Macalester to provide electronic copies to
              parties and their advisors for all complaints filed after August
              14, 2020.

ECF No. 95 at 41. Olson’s reliance on the same arguments he advanced to defend his

federal claims means that his negligence claim is not trial-worthy, either. Olson has

identified no evidence from which a jury might reasonably find that Macalester

discriminated against him on the basis of his sex. As explained above, Olson’s complaints


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regarding Macalester’s investigations do not show that. Macalester’s refusal to provide

Olson unsupervised access to an electronic copy of Roe’s response to his complaint did not

violate Macalester’s policies, does not show arbitrariness or bad faith, and no reasonable

juror could find that it deprived Olson access to evidence—he indisputably had the

opportunity to review her response—or that it meaningfully impaired his ability to reply to

her response.

                                        ORDER

      Based on the foregoing, and on all the files, records, and proceedings herein, IT IS

ORDERED THAT:

      1.        Defendant Macalester College’s Motion to Exclude Expert Testimony [ECF

No. 86] is GRANTED IN PART and DENIED IN PART as explained in Part II, above.

      2.        Defendant Macalester College’s Motion for Summary Judgment [ECF No.

77] is GRANTED.

      3.        Plaintiff Ian Olson’s Complaint is DISMISSED WITH PREJUDICE.

                  LET JUDGMENT BE ENTERED ACCORDINGLY.


 Dated: July 5, 2023                          s/ Eric C. Tostrud
                                              Eric C. Tostrud
                                              United States District Court




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